    Case 4:20-cv-03919-CW           Document 717-2    Filed 03/03/25    Page 1 of 74




                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION




House et al. v. NCAA et al.



                                                     No. 4:20-cv-03919 CW

                                                     DECLARATION OF DANIEL A.
                                                     RASCHER IN SUPPORT OF FINAL
                                                     APPROVAL OF HOUSE
                                                     SETTLEMENT

                                                                 March 3, 2025
         Case 4:20-cv-03919-CW                                  Document 717-2                        Filed 03/03/25                    Page 2 of 74



                                                                      Table of Contents


1.  Introduction ....................................................................................................................................................... 1
2.  Summary of opinions......................................................................................................................................... 2
3.  Proposed injunctive relief class settlement would allow more competition, resulting in higher
     college athlete compensation ............................................................................................................................ 3
  3.1     Correct description of the spending cap....................................................................................................... 4
  3.2     Competition within the injunctive relief class settlement ............................................................................ 7
     3.2.1     Under the settlement, there will be less restriction to competition than the price-fixing that
                current NCAA rules authorize ............................................................................................................ 7
     3.2.2     A spending cap only limits competitive activity by schools that would otherwise increase
                spending above the cap. ...................................................................................................................... 9
  3.3     Calculation of the spending cap and comparison to professional athlete compensation............................ 11
     3.3.1     Revenue categories: spending cap vs. compensation comparison ..................................................... 12
     3.3.2     Revenue reporting by schools is best available measure ................................................................... 16
     3.3.3     Aggregate Division I athlete compensation will approximate a 50% revenue share ......................... 19
4. Sports programs are not in peril due to roster limits or spending on compensation ................................. 25
  4.1     The proposed settlement provides for substantially higher scholarship benefits to college athletes
  without any substantial change in participation ..................................................................................................... 26
  4.2     The proposed settlement provides schools more flexibility to direct compensation to athletes that
  generate more benefits ........................................................................................................................................... 33
  4.3     The proposed settlement continues and improves schools’ ability to achieve the benefits of
  maintaining sports programs.................................................................................................................................. 35
5. Comparison of NIL settlement amounts to supportable NIL damages estimates ...................................... 37
  5.1     Invalid objections to damage estimates for BNIL ..................................................................................... 37
  5.2     Invalid objections to damage estimates for Lost NIL Opportunities ......................................................... 38
6. There are no substantive economic issues raised in the Vogelsong Objections .......................................... 40
7. Signature .......................................................................................................................................................... 43




                                                                                     i
       Case 4:20-cv-03919-CW                Document 717-2             Filed 03/03/25         Page 3 of 74




1.   INTRODUCTION
1.    My name is Daniel A. Rascher. I have previously submitted a declaration, a reply
      declaration, and five expert reports in this matter.1 My credentials appear in my initial
      merits report submitted in December 2023, and an updated current curriculum vitae
      (including a list of all cases in the last 4 years where I testified at trial or was deposed) is
      attached as Appendix A. I am being compensated at $600 per hour, the usual and
      customary hourly rate that was effective at the time this engagement began, plus
      reimbursement of expenses. In my work on this matter, I have been assisted by OSKR
      staff, working under my supervision and control. I have no direct financial interest in the
      outcome of this matter.

2.    This declaration is a response to declarations submitted with briefs on or before January 31,
      2025 objecting to the proposed settlement for litigation related to the House litigation,
      including the antitrust claims on compensation for athletic services that were asserted in
      Carter v. NCAA and are now part of the House v. NCAA complaint. The briefs and
      opposing declarations, in particular the declarations submitted by Dr. Michael Cragg and by
      Professors Rodney Fort and Roger Noll,2 address my calculations of damages and proposed
      distribution of proposed settlement amounts among the classes, as well as the value of the
      injunctive relief in the House litigation.

3.    To prepare this response, I have reviewed court filings and expert declarations, and publicly
      available information, all of which are listed on Appendix B. These include 1) the
      “Objection to settlements on behalf of classes of past, current and future NCAA college
      athletes,” January 29, 2025 (“Hausfeld Objections”), with Appendix H, “Declaration of
      Rodney Fort and Roger Noll in support of objection to settlements on behalf of classes of
      past, current, and future NCAA college athletes,” January 29, 2025 (“Fort/Noll
      Declaration”), and Appendix M, “Declaration of Dr. Michael Cragg in support of objection

1
     Declaration of Daniel A. Rascher, July 26, 2024; Reply Declaration of Daniel A. Rascher, August 16, 2024;
     Expert Report of Daniel A. Rascher, Oct. 21, 2022 (class certification); Expert Reply Report of Daniel A.
     Rascher, July 21, 2023 (class certification); Expert Report of Daniel A. Rascher, Dec. 1, 2023 (merits); Expert
     PCJ Rebuttal Report of Daniel A. Rascher, Jan. 26, 2024; Expert Reply Report of Daniel A. Rascher, Feb. 23,
     2024 (merits) with Errata on April 10, 2024.
2
     Declaration of Dr. Michael Cragg, December 2, 2024 (“Cragg Declaration”); Declaration of Rodney Fort and
     Roger Noll, January 17, 2025 (“Fort/Noll Declaration”).

                                                                                                                       1
       Case 4:20-cv-03919-CW               Document 717-2              Filed 03/03/25   Page 4 of 74




      to settlements on behalf of classes of past, current, and future NCAA college athletes,”
      January 29, 2025 (“Cragg Declaration”); and 2) the “Objection to Final Approval by Alex
      Vogelsong,” January 31, 2025, (“Vogelsong Objections”), with “Declaration of Ted Tatos,”
      January 30, 2025, (“Second Tatos Declaration”).

4.    I also continue to rely on my years of experience and training as an economist and my
      knowledge of relevant literature. To the extent I specifically cite an article or study, I
      include that title in this report and in my list of relied upon materials in Appendix B.


2.   SUMMARY OF OPINIONS
5.    In my declaration dated July 26, 2024 (“Rascher Declaration”), I described calculations of
      damages and settlement amounts for litigation related to NCAA Division I athlete
      compensation, as well as the value of the injunctive relief in the House litigation. I
      described the proposed distribution of settlement funds among class members and, based
      upon a methodology and set of assumptions and procedures that are within the scope of
      economically reasonable approaches for estimating damages specifically related to
      compensation for athlete services (other than use of athletes’ NIL), I calculated an estimate
      of potential damages ($1,898 million, in addition to damages already estimated in my prior
      reports for use of athletes NIL in video games, broadcasts, and other third-party
      transactions).

6.    In my declaration dated August 16, 2024 (“Rascher Reply Declaration”), I considered a
      declaration submitted by Ted Tatos,3 and determined that, taken as a whole, the Tatos
      Declaration provided a methodology and set of assumptions and procedures that are not
      within the scope of economically reasonable approaches for estimating damages related to
      compensation for athlete services (other than use of athletes’ NIL). I also found that the
      Tatos Declaration applied these unreliable methods to estimate revenue and athlete
      compensation that led to overstated estimates of damages: either $24 billion or $34 billion
      (with neither estimate falling within the scope of economically reasonable damages for
      additional compensation).



3
     Declaration of Ted Tatos, August 9, 2024 (“Tatos Declaration”).

                                                                                                       2
     Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25      Page 5 of 74




7.   In this declaration, I respond to critiques raised in the Hausfeld Objections (with the
     Fort/Noll Declaration and the Cragg Declaration) and raised in the Vogelsong Objections
     (with the Second Tatos Declaration). These declarations critique the component of the
     Injunctive Relief Class Settlement (“IRCS”) that establishes a maximum annual amount
     that NCAA Division I schools can spend on athlete compensation above what NCAA rules
     currently authorize (“spending cap”), other aspects of the IRCS, the components of the
     settlements related to estimated damages for use of athletes’ NIL, and the treatment of new
     scholarships allowed under the IRCS.

8.   I conclude that the proposed settlement provides for more competition among schools than
     under the current NCAA rules (and also more than would be the case for price-fixing how
     much each athlete gets), notwithstanding the spending cap. I further conclude that the
     correct understanding of the calculation of the spending cap and of my separate calculation
     comparing expected athlete compensation to athletic revenue supports the claim that
     college athletes will, under the proposed settlement, earn in aggregate a portion of revenue
     comparable to the portion of revenue that professional athletes earn. In addition, I conclude
     that the proposed settlement allows for schools to substantially increase scholarship benefits
     and other compensation, without substantially impinging on athletic participation. I affirm
     my conclusions comparing the settlement amounts to previous damage estimates and I find
     no substantive economic objections in the Vogelsong Objection or its attached Tatos
     Declaration.


3.   PROPOSED INJUNCTIVE RELIEF CLASS SETTLEMENT WOULD ALLOW MORE COMPETITION,
     RESULTING IN HIGHER COLLEGE ATHLETE COMPENSATION

9.   One aspect of the settlement that has raised objections is the set of changes to NCAA rules
     that would allow for schools to spend additional funds on athlete compensation, but only up
     to a maximum spending cap. In this section, I first clarify and correct the description of the
     spending cap. Next, I explain how the proposed changes, including the spending cap,
     would increase competition for athletic services. Finally, I address criticisms about the
     calculations to determine the amount of the spending cap and confusion about the
     assessment of the amount of compensation that the cap allows.



                                                                                                    3
        Case 4:20-cv-03919-CW                Document 717-2             Filed 03/03/25         Page 6 of 74




3.1     CORRECT DESCRIPTION OF THE SPENDING CAP
10. The spending cap is a single figure each academic year that, under the proposed injunctive
       relief class settlement, would limit how much any Division I school can spend on athlete
       compensation beyond what the NCAA rules already allow. The calculation of the figure,
       which I address further in Section 3.3, relies on average revenue among Power Five
       schools, but the single cap in any given year applies to every Division I school. There is no
       individualized spending cap calculation for each school – the same cap applies to all
       schools. The spending cap calculation allows for growth from year to year, either
       automatically (at a given percentage increase each year) or, when requested, by
       recalculation, which I address further in Section 3.3.1.

11. The spending cap replaces the limit (which is zero) on spending above what NCAA rules
       currently allow. The proposed settlement also leaves in place the rules that require each
       school to spend a minimum amount on athlete compensation (in the form of scholarships)
       for participation in Division I athletics. The declarations I reviewed appear to erroneously
       claim that the amount of spending on new scholarships would be restricted by the spending
       cap. For example, Professors Fort and Noll incorrectly posit a limit on the number of new
       scholarships.4 Dr. Cragg incorrectly describes new scholarships as shrinking the amount
       that schools can pay athletes.5

12. It is correct that the settlement eliminates current scholarship maximums and opens up new
       possibilities for schools to offer scholarships. This would be in addition to the possibility,
       for some schools that currently fund fewer athletic scholarships, of expanding scholarship
       offers within the current scholarship maximums. The settlement imposes no upper bound
       on schools providing such new scholarships, contrary to the statements of Professors Fort
       and Noll. The settlement applies only the first $2.5 million in new scholarship spending




4
      “[T]he rules regarding permissible increases in the number of athletic scholarships are expressed as a dollar cap
      of $2.5 million on spending for new scholarships ... allowing some schools to create over 100 new scholarships
      while others can create fewer than 30.” (Fort/Noll Declaration, ¶12).
5
      “Several items count as ‘offsets’ against the benefits pool, meaning that they shrink the maximum amount
      member institutions may pay. For instance, new scholarships ‘count against the Pool;’ a school that spends $5M
      on new scholarships, for example, may only increase other compensation to college athletes by an additional
      $18M.” (Cragg Declaration, ¶12).

                                                                                                                      4
      Case 4:20-cv-03919-CW                Document 717-2            Filed 03/03/25         Page 7 of 74




     towards the spending cap: any amount above $2.5 million is unbounded by the spending
     cap.

        “As a result of the elimination of scholarship limits (see Article 4, Section
        1), Member Institutions will have the option of making incremental
        athletic scholarships available to student-athletes above the number
        currently permitted by NCAA Division I rules for a particular sport,
        subject to the roster limits addressed in Article 4, Section 1.The full cost-
        of-attendance dollar value of any new or incremental athletic
        scholarships—that were not previously permitted by NCAA Division I
        rules—up to two million five hundred thousand dollars
        ($2,500,000.00) (‘the Athletic Scholarship Cap’) will count against the
        Pool (again, in recognition of schools that award a greater number of
        athletic scholarships).”6


13. The spending cap for each school remains the same regardless of the spending on new
     scholarships, contrary to the statements of Dr. Cragg. Some of the spending on new
     scholarships counts toward the spending cap. However, this effect is limited to the first
     $2.5 million of spending on new scholarships.

14. By counting towards the spending cap only the initial $2.5 million of new scholarship
     spending, the settlement provides each school with the flexibility to choose to give more
     new scholarship money in addition to other types of athlete compensation. For example, a
     school that deems it beneficial to enhance spending on non-revenue generating sports while
     still attracting top athletes to revenue-generating sports would have the flexibility to offer
     substantially more scholarships (limited only by roster sizes and not by the spending cap)
     for the non-revenue generating sports, in addition to offering more scholarships and/or
     higher compensation beyond scholarships to athletes in revenue-generating sports.7

15. In sum, schools will be able to offer as many scholarships as they want under the settlement
     agreement (subject to the number of athletes allowed on each team), and only the new
     scholarship spending up to $2.5 million will count toward the spending cap. Schools in


6
    Amended Injunctive Relief Settlement, Article 3, Section 3(b), emphasis added. I note in passing that there is
    also a similar (but separate) $2.5 million threshold relating to academic achievement awards (“Alston” awards),
    which are not the subject of any objections.
7
    The phrase “non-revenue generating” is a commonly used way to describe sports other than men’s and women’s
    basketball and football. Many of those sports do generate revenue, even if the amounts are relatively low.

                                                                                                                  5
       Case 4:20-cv-03919-CW               Document 717-2            Filed 03/03/25        Page 8 of 74




      Power Five conferences have already announced plans to expand the number of
      scholarships (beyond what would be feasible while remaining under the $2.5 million
      threshold) and also fully participate in the rest of the revenue sharing that would be allowed
      by the spending cap.8

16. Consider an example with a spending cap of $23.1 million.9 Suppose School A increases
      athletic scholarship spending from $10 million to $12 million per year. The increase of $2
      million is below the $2.5 million threshold and the entire increase counts toward the
      spending cap for School A, which can also spend $21.1 million on other forms of increased
      athlete compensation. Suppose School B increases athletic scholarship spending from $10
      million to $14 million. The increase of $4 million is above the $2.5 million threshold and
      only $2.5 million counts toward the spending cap for School B, which can also spend $20.6
      million on other forms of increased spending. While both schools hit the cap, School A
      spends $23.1 million on new compensation and benefits (assuming School A spends up to
      the cap) and School B spends $24.6 million on new compensation and benefits (also
      assuming this school spends up to the cap).

17. Dr. Cragg says that the “injunctive relief in the IRCS allows member institutions to
      decrease the maximum amount they are permitted to pay students by the amount of
      students’ NIL earnings.”10 This correctly applies to only students’ NIL earnings paid by the


8
     Notably, multiple schools are already explaining that they are going to increase the number of scholarships
     because of the changes to the NCAA rules as described in Section 4.1. See, e.g., Weiszer, M. (Updated 2025,
     February 26). “Georgia athletics unveils plan for its $20.5 million in revenue sharing with athletes.” Athens
     Banner-Herald. Accessed on February 28, 2025 at https://www.onlineathens.com/story/sports/college/bulldogs-
     extra/2025/02/25/georgia-athletics-revenue-sharing-georgia-football-josh-brooks/79413454007/; Emerson, S.
     (2025, February 25). “Georgia, SEC schools expected to pay football athletes about 75 percent of revenue
     sharing.” The Athletic. Accessed on February 26, 2025 at
     https://www.nytimes.com/athletic/6159981/2025/02/25/college-football-revenue-sharing-georgia-sec/; Pells, E.
     (2024, Nov. 22). “Ohio State to keep all sports, add 91 scholarships in new college landscape.” The Associated
     Press. Accessed on February 25, 2025 at https://apnews.com/article/ohio-state-scholarships-
     11fd4da3a684389311e7caf1995cc68d; Iacobelli, P. (2024, Nov. 26) “Clemson AD Neff says school will fully
     fund NCAA settlement and add 150 scholarships in two years.” The Associated Press. Accessed on February 25,
     2025 at https://apnews.com/article/clemson-neff-ncaa-settlement-740c62b8d694d437ceba1e77618ea32b; Keith,
     B. (2025, February 28). “Texas Will Add Almost 200 New Athletics Scholarships, including 100% Full Rides
     for Swim Teams.” Swim Swam. Accessed on February 28, 2025 at https://swimswam.com/texas-will-add-
     almost-200-new-athletics-scholarships-including-100-full-rides-for-swim-teams/.
9
     The Rascher Declaration projected that 22% of the Pool Revenue averaged across Power Five schools for 2025-
     26 will be about $23.1 million (Rascher Declaration, Exhibit 25).
10
     Cragg Declaration, ¶9.

                                                                                                                 6
        Case 4:20-cv-03919-CW                Document 717-2             Filed 03/03/25         Page 9 of 74




       school. NIL earnings paid by third parties do not count toward the spending cap. When Dr.
       Cragg discusses the amounts that pro players receive in sponsorships/endorsements, he is
       providing information about third-party payments: “players receive salaries, which give
       them a share of NBA revenue, and sponsorship deals, which are separate from and outside
       the scope of their contracts with the NBA.”11 Under the proposed settlement, such
       sponsorship earnings from third parties would not affect the spending cap.12 However, Dr.
       Cragg goes on to state that the approach in the proposed settlement “is tantamount to the
       Wimbledon tennis tournament reducing the amount of Serena Williams’ prize money for
       winning the tournament by the amount she earned from advertisements.”13 This implies
       that, under the proposed settlement, money from third-party compensation (“amount she
       earned from advertisements”) would reduce the money that can be spent by schools to
       compensate athletes (reducing the amount of Serena Williams’ prize money”), which is
       incorrect.


3.2     COMPETITION WITHIN THE INJUNCTIVE RELIEF CLASS SETTLEMENT
18. I describe in previous filings how the Defendants’ conduct harmed competition in the
       market for college athletic services.14 In this section, I address how the settlement mitigates
       this harm by releasing restrictions to competition among Division I schools.

        3.2.1 Under the settlement, there will be less restriction to competition than the
              price-fixing that current NCAA rules authorize

19. From an economic perspective, it is correct to characterize current NCAA rules as price-
       fixing.15 Beyond what the rules allow schools to pay to cover athletes’ costs for attending

11
      Cragg Declaration, ¶36, emphasis added.
12
      Amended Injunctive Relief Settlement, Article 3, Section 3 (intro) (“Any newly permitted amounts or benefits
      provided to individual student-athletes by Member Institutions (directly, through an exclusive or non-exclusive
      license between the student-athlete and the Member Institution (see Article 2, Section 2), or otherwise)—shall
      count against the Pool except for proceeds from third party NIL sublicenses and arrangements as specified in
      subsection 3(c) of this Article.” (emphasis added)).
13
      Cragg Declaration, ¶39.
14
      Expert Report of Daniel A. Rascher, Oct. 21, 2022 (class certification), Section 4; Expert Report of Daniel A.
      Rascher, Dec. 1, 2023 (merits), Section 4.
15
      For example, “The challenged NIL rules, which have at times during the class period constituted an agreement
      to fix the prices Defendants (and their member universities) paid for college athlete NIL to zero...” (Expert
      Report of Daniel A. Rascher, Dec. 1, 2023, p. 6, ¶12).

                                                                                                                        7
      Case 4:20-cv-03919-CW               Document 717-2           Filed 03/03/25         Page 10 of 74




      school (and, more recently, for academic performance), the price of compensation for
      athletes is fixed at zero. When the House matter was first filed, the rules went even further
      to fix the price that athletes could receive from third parties to zero – only since mid-2021
      (and to my understanding, still only on an “interim” basis) have the rules allowed athletes to
      receive compensation from third parties for use of the athletes’ NILs.

20. The proposed injunctive relief class settlement greatly expands the choices for schools to
      determine differing types and levels of athlete compensation through which to compete for
      athlete services. From an economic perspective, it is incorrect to characterize the
      settlement as price-fixing.16 While there may be economic arguments that price-fixing is
      presumptively anticompetitive, no such arguments support a presumptive determination that
      the proposed settlement, inclusive of the spending cap, has anticompetitive effects that
      outweigh procompetitive benefits. Neither this declaration nor any of the declarations that I
      reviewed offer a full economic analysis to assess all of the competitive effects of the
      settlement or to balance possible anticompetitive harm against possible procompetitive
      benefits. The scope of this declaration is limited to the question of whether the settlement,
      a negotiated outcome between parties who have been disputing the competitive effects of
      the NCAA’s pre-existing conduct, ameliorates existing harm to competition. The answer is
      that the settlement succeeds on that measure – competition for athlete services under the
      settlement will be substantially higher than pre-existing competition for athletes’ services.

21. In support of my conclusion that the proposed settlement provides for substantially more
      competition than the current NCAA rules, I have compared my estimates of school
      spending in future years for athlete compensation under the proposed settlement with
      professional team spending for athlete compensation, which occurs in markets where the
      NCAA rules have not harmed competition.17 This comparison is not a damages calculation
      based on previous athletic services being under-compensated. Instead, it is a projection
      going forward for what I estimate will happen when competition expands under the
      proposed settlement.

16
     “Salary caps, by their very nature, are a form of wage fixing.” Appendix D to Hausfeld Objections: Edelman,
     M. and Carrier, M.A. (2025). Of Labor, Antitrust, and Why the Proposed House Settlement Will Not Solve the
     NCAA’s Problem. Fordham Law Review. Submitted Draft, Forthcoming at p. 3.
17
     Rascher Declaration, Section 7.

                                                                                                                   8
      Case 4:20-cv-03919-CW               Document 717-2           Filed 03/03/25        Page 11 of 74




22. As I and others describe in our declarations, athlete compensation in the professional sports
      leagues occurs within the context of a collective bargaining agreement (“CBA”). One
      feature of CBAs can be the determination of specific limits (caps and floors) on overall
      spending by each team or on salaries for individual athletes.18 Similarly, both the proposed
      settlement and the existing NCAA rules incorporate caps, as I discuss in Section 3.1, and
      floors. The existing NCAA requirements already establish a floor for athlete compensation
      in the form of the minimum levels of financial support for athletes that are required for
      schools to be members of Division I.19

23. There are important differences between the expected outcome in college athletics, on the
      one hand, and the actual outcomes in professional sports leagues with CBAs. Comparing
      the settlement to the CBA is a way of making an economic measurement about whether the
      settlement moves the compensation for college athletes to be much more similar than it has
      been to the compensation that professional athletes receive. The comparison is not an
      attempt to paint the settlement as identical to a CBA or to predict the outcome in college
      athletics if there were players’ associations in college athletics.

24. Such differences notwithstanding, there is an important similarity between the injunctive
      relief settlement and CBA outcomes: there is ample room for competition among the
      entities (teams or schools) that are engaging the athletes’ services. It is this competition
      that would lift spending on compensation to college athletes (which for most schools is
      already above floors set by the NCAA rules) to levels that can be comparable to
      compensation for professional athletes.

       3.2.2 A spending cap only limits competitive activity by schools that would otherwise
             increase spending above the cap.

25. In this section, I explain the reasons why many schools are unhindered by a spending cap
      and also address incorrect claims about my projections of future school spending. In short,
      many Division I schools value student athletics, in aggregate, at a level that is below the


18
     “Fort and Noll note that the CBAs of the NFL and NBA have both caps and floors” (Hausfeld Objections, p. 14,
     emphasis removed).
19
     NCAA Division I 2024-25 Manual, Section 20.9.3.2, p. 379. Available at
     https://www.ncaapublications.com/productdownloads/D125.pdf.

                                                                                                               9
      Case 4:20-cv-03919-CW                 Document 717-2             Filed 03/03/25          Page 12 of 74




      amount that the spending cap would allow. Such schools would not spend up to the
      spending cap under the proposed settlement. However, some schools would spend the full
      amount possible. I explain below how this distinction matters for competition among
      schools.20

26. Regarding the amount of spending that I project schools would pay for athlete
      compensation under the settlement, there are critiques that misstate my analysis.21 First, the
      opinions and analysis I presented throughout this settlement process are that many Power
      Five schools will pay the full amount allowed by the spending cap. I refer back to my
      previous analysis on preliminary approval about how schools have the incentives to pay the
      money, especially in the Power Five: the Rascher Declaration assumes (in Ex. 26) that the
      additional amount spent, in total by all Division I schools, would be equal to (at least) the
      maximum allowable amount per school times the number of Power Five schools.
      However, many Division I schools will not pay the full amount (because demand for
      athletes’ services differs across Division I schools and, thus, competition between schools
      results in different levels of compensation), and I have never claimed otherwise.22


20
     For instance, the University of Georgia plans to pay football players $13.5 million in the coming year and add
     100 scholarships across other sports. UGA also notes that it thinks that this amount is in line with its peers in
     the SEC conference. Emerson, S. (2025, February 25). “Georgia, SEC schools expected to pay football athletes
     about 75 percent of revenue sharing.” The Athletic. Accessed on February 26, 2025 at
     https://www.nytimes.com/athletic/6159981/2025/02/25/college-football-revenue-sharing-georgia-sec/.
21
     Hausfeld objectors say: “Class counsel’s expert, Dr. Daniel Rascher (‘Rascher’), speculates without any factual
     support that colleges will distribute the full value of the pool in 2025-26. [Dr. Cragg says] that smaller Division
     I schools would be unlikely to spend up to the cap and that the Ivy League schools, for example, will likely opt
     out entirely from revenue sharing.” (Hausfeld Objections, p. 12). Dr. Cragg states: “Dr. Rascher argues that
     competition for college athletes among member institutions will lead schools to spend the full amount of their
     benefits pool on additional compensation of $1,618M” and “it is unlikely that smaller Division I schools with
     more limited resources would be in a position to spend up to the full $23M cap per schools. And many Ivy
     League schools are expected to opt-out of sharing revenue with college athletes beyond grants-in-aid.” (Cragg
     Declaration, pp. 6, 17).
22
     The amount of $1,618 million in Exhibit 26 of the Rascher Declaration does NOT come from the assumption
     that all schools pay the full spending cap. The assumptions are: 1) many Power Five schools pay the full
     amount of the spending cap, and 2) enough non-Power Five schools increase spending (maybe some even up to
     the spending cap) to make the total amount equal to at least what it would be if ALL Power Five schools spent
     the full amount. The Cragg Declaration misleadingly edits a quote from the Rascher Declaration: “Dr. Rascher
     assumes that ‘[a]dding compensation that will be allowed under the injunctive settlement equal to the entire
     Pool amount . . . would be economically reasonable to expect due to competition.’” (Cragg Declaration, p. 6, fn.
     14). The actual quote without the edit is: “Adding compensation that will be allowed under the injunctive
     settlement equal to the entire Pool amount that Power Five schools could pay in 2025-26, which would be
     economically reasonable to expect due to competition, would increase athlete compensation by $1,618 million.”
     (Rascher Declaration, ¶87, emphasis added).

                                                                                                                      10
      Case 4:20-cv-03919-CW          Document 717-2         Filed 03/03/25       Page 13 of 74




27. Having established that there is no dispute that, under the settlement, some schools would
      pay the full amount allowed and some would not, I now consider how competition would
      occur under the proposed settlement. As a matter of economics, among schools for which
      unhindered competition for athlete services would lead to athlete compensation below a
      spending cap, the ability of each school to compete is not affected by that spending cap.
      Although many Division I schools would spend more on athlete compensation under the
      proposed settlement (more than current spending), the spending cap would create no
      constraint when that additional spending would be below the cap anyway. Only schools for
      which competition could drive new spending on athlete compensation above a spending cap
      would face any effective constraint, under the proposed settlement. Thus, the effect of a
      spending cap on competition among schools is dependent on the number and nature of
      schools for which the cap is a binding constraint.

28. Unlike price-fixing, which could establish a uniform level of spending on athlete
      compensation, the spending cap allows competition at levels of compensation below the
      cap unhindered by a binding constraint. Even among schools where the spending cap does
      constrain spending, there is still more competition than if there were fixed wages, because
      heterogenous schools have multiple dimensions of compensation by which to attract
      heterogenous students. For schools that are offering at least $2.5 million in additional
      scholarships, the spending cap creates no limit on adding more scholarships.


3.3   CALCULATION OF THE SPENDING CAP AND COMPARISON TO PROFESSIONAL ATHLETE
      COMPENSATION

29. As noted above, the existence of CBAs in professional leagues distinguishes professional
      athlete compensation from college athlete compensation under the settlement. However,
      there are similarities across the different relevant markets for acquiring the services of
      professional athletes or college athletes. To understand how much the settlement, with the
      spending cap, results in substantially increased compensation due to improved competition
      for college athlete services, it is useful to compare the ratio of compensation to revenue




                                                                                                   11
      Case 4:20-cv-03919-CW               Document 717-2           Filed 03/03/25         Page 14 of 74




      under the proposed settlement to the ratio of compensation to revenue for professional
      athletes in leagues with CBAs.23

30. It is important, however, to understand that the proposed settlement identifies some specific
      revenue categories to be used in the process of calculating the spending cap, as I discuss in
      section 3.3.1. Those categories are simply part of the settlement language. To compare
      compensation across leagues and, specifically, the ratio of compensation to revenue,
      requires identifying the comparable revenues across the leagues, as I discussed in the
      Rascher Declaration.24

31. The declarations I reviewed present a number of critiques addressing the details of the
      settlement’s calculations of revenue for the “pool” and the cap on new compensation, which
      I address throughout this section. None of the critiques change my conclusion that
      competition allowed among Division I schools under the proposed settlement would
      substantially improve college athlete compensation, even up to the point where it would be
      broadly similar to professional athlete compensation (relative to revenue).

       3.3.1 Revenue categories: spending cap vs. compensation comparison

32. The injunctive relief class settlement identifies specific categories of school revenue as
      “pool revenue.”25 While all Division I schools report revenue across these various revenue
      categories, only the revenue at Power Five schools go into these calculations. The total of
      the specified revenue categories for all Power Five schools, averaged across the number of
      Power Five schools (“average pool revenue”), form the basis for determining the spending
      cap that would apply to all Division I schools. The proposed settlement establishes the
      spending cap at 22% of the average pool revenue.




23
     This sort of comparison has been used in other NCAA litigation, including in O’Bannon, where at the Class
     Certification stage of the case, Professor Noll stated that “practices in professional sports” is one of the
     considerations that led to his conclusion regarding the appropriate portion of revenue going to athlete
     compensation and that “The most recent collective bargaining agreement between the NFL and the NFL Players
     Association (NFLPA) provides more indirect evidence.” (Expert Report on Class Certification of Roger G. Noll,
     October 22, 2012, pp. 100-101, with additional explanation pp. 101-104).
24
     Rascher Declaration, Section 5.1, ¶¶49-53, 86-7.
25
     Rascher Declaration, ¶¶82-5.

                                                                                                               12
      Case 4:20-cv-03919-CW          Document 717-2        Filed 03/03/25      Page 15 of 74




33. In the Rascher Declaration, Exhibit 25, I provided an analysis of projected revenue over the
      course of the period covered by the injunctive relief settlement, focusing on the scope of
      revenue incorporated into the “revenue pool” calculation, and an expected level of
      compensation related to the limit imposed on revenue sharing (the spending cap). The
      projected amount of revenue for Power Five schools ranged from about $7.4 billion in
      2025-26 to about $10.5 billion in 2034-35. This analysis is useful for understanding how
      the settlement details determine the spending cap: 22% of the Power Five revenue ($1.6
      billion in 2025-26, for example) divided by the number of Power Five schools provides the
      spending cap that applies to all Division I schools (leading to a spending cap in 2025-26 of
      $23.1 million per school, for example).

34. I then provided in the Rascher Declaration, Exhibit 26, an analysis of total athlete
      compensation, for all Division I schools, relative to total athletic revenue.26 The revenue in
      that analysis differs from the “pool revenue” in two important ways. First, it is revenue for
      all Division I athletic programs, not just Power Five. Second, it incorporates the same
      categories of revenue that I used to assess possible damages for additional athlete
      compensation in previous years related to conduct challenged in the Carter case (as I
      understand from counsel that the claims in that case have been added to the House case for
      settlement). This is a more expansive set of revenues than those included in the “pool
      revenue” calculation detailed by the settlement. With those two differences, the baseline
      revenue for academic year 2025-26 would be about $10.9 billion for all of Division I, as
      compared to the pool revenue total for Power Five schools at $7.4 billion. I then added up
      the various categories of compensation allowed under the current rules, plus the expected
      level of compensation to occur under the spending cap (at least $1.6 billion), to determine
      that total compensation would be approximately ($5.6 billion), or about 51 percent of
      revenue.

35. Many of the objections stated in the declarations that I reviewed relate to whether the
      revenues specified for the “revenue pool” calculation are correctly comparable with
      professional league revenues. The categories included in the settlement determination of
      pool revenue matter only for the calculation of the spending cap and are not relevant to my

26
     Rascher Declaration, ¶¶86-7.

                                                                                                   13
      Case 4:20-cv-03919-CW              Document 717-2          Filed 03/03/25        Page 16 of 74




      comparison of expected compensation for college athletes to compensation for professional
      athletes. It is apparent that some of the objections to the proposed settlement fail to account
      for this distinction.

36. For example, the Fort/Noll Declaration asserts that the calculation of the “revenue pool” in
      the proposed settlement excludes “concessions, parking, programs, gambling, sports-related
      business ventures (e.g., camps), and the imputed value of some complimentary tickets”.27 It
      is correct that the “revenue pool” calculation excludes these categories. However, my
      baseline for revenue for the comparison of college to professional athlete compensation (for
      Exhibit 26 of the Rascher Declaration) does include concessions, parking, programs, and
      half of donations (this is my approximation for some portion of charitable contributions that
      provide for goods or services – excluding from revenue any charitable contributions that are
      not payments for goods and services is an accurate way to identify comparable revenue
      across college athletics and professional leagues). The only other differences between the
      revenues that I use to compare to professional leagues and the revenues that the Fort/Noll
      Declaration lists in this specific passage are camps (a very small amount of revenue) and
      gambling (a category that does not exist in the historical data for Division I schools).

37. The Fort/Noll Declaration further questions the exclusion of other sources for funds that
      may be available to school sports programs but are not available to professional sports
      leagues. I discuss the revenue categories in detail in Section 3.3.2. For this assessment of
      injunctive relief going forward, the comparison between college athletics and professional
      leagues of compensation to revenues incorporates appropriately comparable sets of
      revenue.

38. Another critique is that the annual increases built into the proposed settlement projection of
      revenue at 4% annually would not be sufficient to accommodate actual revenue growth.
      The critique notes that there was a 31% increase in revenue between 2021 and 2022.28 The
      citation to this specific year is very misleading and the critique is more generally inapt.




27
     Fort/Noll Declaration, ¶8.
28
     Objection to Amended Settlement Agreement and Opposition to Final Approval, January 31, 2025, ECF 628,
     (“Molo Objection”), p. 21.

                                                                                                              14
      Case 4:20-cv-03919-CW                 Document 717-2             Filed 03/03/25          Page 17 of 74




39. First, the growth of revenue over time historically is smooth, “jumping” only with
      conference broadcast rights deals and realignments, or in response to external conditions,
      such as the COVID-19 pandemic, as shown on Exhibit 1.29 During the 2020-21 season, the
      NCAA faced severe disruptions due to COVID-19. By mid-March 2020, all intercollegiate
      sports in the U.S. were suspended, and when games resumed, most were played with
      restricted in-person capacity.30 The pandemic led to the complete cancellation of the 2020
      March Madness tournaments and a significant reduction in college football games, from
      3,760 in 2019-20 to 1,010 in 2020-21.31 However, by 2021-22, NCAA athletics had largely
      returned to normal. Unlike the previous season, all conferences participated in the 2021-22
      college football season without major disruptions, and March Madness returned to pre-
      pandemic conditions, with fans back at full capacity. Therefore, the growth from 2021 to
      2022 is clearly not typical.32




29
     I provided a very similar analysis in the Expert Report of Daniel A. Rascher, Oct. 21, 2022 (class certification),
     Exhibits 16 and 17.
30
     Leeds, M. A., Allmen, P.V., and Matheson, V. A. (2023). The Economics of Sports. (7th ed.). Routledge, p. 21:
     “[B]y the middle of March 2020, all professional and intercollegiate sports in the US as well as most major
     sports leagues around world suspended operations, and when games returned, most leagues began play behind
     closed doors or with severely restricted in-person capacity.”
31
     Leeds, M. A., Allmen, P.V., and Matheson, V. A. (2023). The Economics of Sports. (7th ed.). Routledge, p. 21.
32
     Russo, R.D. (2021, August 22). “College football 2021: Return to normal wrapped in change.” AP News.
     Accessed on February 27, 2025 at https://apnews.com/article/sports-college-football-football-health-utah-utes-
     football-be9c91d43fe864619e1f8166ca1ca17b; Hale, D. (2022, January 31). “Why 2021 was a year of constant
     upheaval for college football.” ESPN. Accessed on February 27, 2025 at https://www.espn.com/college-
     football/story/_/id/33110193/why-2021-was-year-constant-upheaval-college-football; Goldman, T. (2022,
     March 18). “March Madness is back, and it looks more normal than it has in 3 years.” NPR. Accessed on
     February 27, 2025 at https://www.npr.org/2022/03/18/1087617011/march-madness-is-back-and-it-looks-more-
     normal-than-it-has-in-3-years.

                                                                                                                     15
      Case 4:20-cv-03919-CW                Document 717-2          Filed 03/03/25   Page 18 of 74




                       Exhibit 1. Total NCAA Division I Revenue, 2016 – 2022




40. Second, to the extent that the revenue projections incorporated into the settlement do not
      match the actual growth that occurs over the course of the injunctive relief class settlement,
      the terms of the settlement allow for the annual amounts to be recalculated in certain
      circumstances. It is my understanding that this happens in two ways under the settlement
      agreement. First, there is an automatic recalculation of the spending cap based on actual
      revenues every three years. Second, should class counsel observe changes in revenue– such
      as a larger new broadcast deal or new source of revenue not previously incorporated into
      the amounts reported by schools – they can request an accelerated recalculation of the
      spending cap up to twice during the ten-year term.33

       3.3.2 Revenue reporting by schools is best available measure

41. In addition to the objections raised about which categories of revenue are incorporated into
      determining the spending cap, there are objections asserting that any categories of revenue
      (or spending) reported by schools inherently lack clarity because “neither accounting costs
      nor revenues have much meaning as measures of the value of either athletics programs or


33
     Amended Injunctive Relief Settlement, Article 3, Section 1.

                                                                                                    16
      Case 4:20-cv-03919-CW                  Document 717-2        Filed 03/03/25        Page 19 of 74




      the compensation of athletes.”34 These objections fail to address any issue of economic
      substance – there is no systemic bias undermining my calculations of revenue or cost.

42. First, as a general point, it is commonplace for economic analysis to rely on accounting data
      regarding revenue and costs, both in academic research and in the context of litigation. For
      example, one of the authors of the Fort/Noll Declaration, Professor Fort, provides a large
      compilation of data for sports economic research (and “identified for inclusion in the
      Library of Congress”) that includes revenue and expense data reported by NCAA schools.35
      The Economics Committee of the American Bar Association identifies both “audited
      company financial statements and internal company data detailing sales and costs or profits
      and losses” as sources “often-used” by damages experts, while explicitly noting that these
      sources “may imperfectly reflect the economic realities that should be the focus of damage
      analyses” and “adjustments to accounting data may be necessary.”36

43. Second, these objections overlook, on the revenue side, the detailed explanation that I
      provide in my Reply Declaration for identifying revenue that is relevant for comparing
      college athletes’ compensation under the proposed settlement to professional athletes’
      compensation under CBAs. There, I address the specific sources of revenue information,
      EADA and MFRS, and the specific revenue categories, as well as specific adjustments I
      make to align the accounting data with economic concepts of revenue.37

44. The Hausfeld Objection attempts to reference one of my own reports as a general refutation
      of using school-reported data, in which I and my co-author wrote “Athletic Department
      financial reporting has a systematic tendency to understate revenues and overstate costs
      from athletics.”38 However, the use of this reference fails in the specifics to support the
      objections. The report notes that Contributions (the revenue category reported by athletic

34
     Fort/Noll Declaration, ¶12; Hausfeld Objections, p. 17.
35
     “Rodney Fort’s Sports Business Data.” Rodney Fort’s Sports Economics. Accessed on February 23, 2025 at
     https://sites.google.com/site/rodswebpages/codes?authuser=0.
36
     American Bar Association. (2017). Proving Antitrust Damages, Legal and Economic Issues. (3rd ed.). pp. 111-
     2.
37
     Rascher Reply Declaration, Section 3.
38
     Appendix Q to Hausfeld Objection: Rascher, D.A., & Schwarz, A.D. (Revised 2015, April 30). The Incremental
     Benefits and Costs of Football, Bowling, and Rifle at the University of Alabama at Birmingham (A Primary and
     Secondary Study). Rascher and Schwarz (Unpublished), p. i.

                                                                                                              17
      Case 4:20-cv-03919-CW                  Document 717-2            Filed 03/03/25          Page 20 of 74




      departments) may reflect some understatements: this is because philanthropic donations that
      happen to be motivated through exposure to sports programs do not count as benefits of the
      athletic programs.39 However, in the context of the analysis comparing expected
      compensation under the settlement, this is not relevant. There is no set of cash flows for
      professional leagues that correspond to philanthropic donations, so I do not include such
      philanthropic donations in my comparison. Specifically, I do not include contributions
      outside of the athletic department, and, within the athletic department, I include only half of
      the reported revenue category labelled Contributions.40

45. Finally, with respect to athlete compensation, the Fort/Noll Declaration states that “a large
      fraction of the compensation that the IRCS would cap is not derived from a market process”
      and “consists of in-kind benefits valued at internal transfer prices that are both paid for and
      received by the university (examples are tuition and fees and on campus room and board
      charges).” This is incorrect. The only in-kind compensation that counts within the
      spending cap is the first $2.5 million of incremental (new) scholarships – this is a small
      fraction of the spending cap. Also, there are market transactions for tuition and, in many
      cases, for room and board. Division I schools have always competed using scholarships,
      (and the settlement opens up room for this competition). I have previously addressed the
      use of the full cost of attendance in my calculation of total athlete compensation, including
      an explanation of why it is incorrect, as a matter of economics, to presume that the value of
      the benefit to the student (and the “sticker price” of tuition) of the education provided is tied
      directly to the marginal cost of providing the education.41




39
     Appendix Q to Hausfeld Objection: Rascher, D.A., & Schwarz, A.D. (Revised 2015, April 30). The Incremental
     Benefits and Costs of Football, Bowling, and Rifle at the University of Alabama at Birmingham (A Primary and
     Secondary Study). Rascher and Schwarz (Unpublished), pp. 31-2.
40
     “For voluntary contributions, which in college athletics can be tied together with attendance privileges (tickets),
     I include half of the reported amount and for endowment income, which may in some cases compare directly to
     professional team investment income and in other cases may involve unrelated educational institution
     endowments, I also include half of the reported amount.” (Rascher Declaration, ¶43).
41
     Rascher Reply Declaration, Section 4.

                                                                                                                     18
      Case 4:20-cv-03919-CW            Document 717-2       Filed 03/03/25      Page 21 of 74




       3.3.3 Aggregate Division I athlete compensation will approximate a 50% revenue
             share

46. The spending cap allows for, but does not require, schools to increase spending on athlete
      compensation. In 2025-26, the amount allowed for is about $1.6 billion across all Power
      Five schools. In the same year, the amount allowed for is much higher across all Division I
      schools. As I discussed above in Section 3.2.2, I do not assume that all Division I schools
      would increase their spending all the way up to the cap. Instead, my conclusion is that
      competition among Power Five schools would cause many of them to increase their
      spending up to the cap, and that some increased spending would also occur for many
      Division I schools. I provide a conservative estimate that the sum of all increased spending
      across all Division I schools would be at least $1.6 billion. In other words, to the extent
      that some Power Five schools do not increase spending all the way to the cap (Power Five
      schools increase spending by less than $1.6 billion), other Division I schools would,
      together, increase spending enough to make up any gap.42

47. As I described in the Rascher Declaration and in Section 3.3.2, the professional league
      CBA revenue share percentages can provide an economically appropriate benchmark for
      Division I college athlete compensation expected to occur under the injunctive relief class
      settlement. Although the calculation of the amount of the spending cap involves a specific
      set of revenue established in the proposed settlement, my estimate of the actual increase in
      compensation across all Division I schools, at least $1.6 billion in 2025-26, is not identical
      to the spending cap. Also, I do not compare that increase in compensation to the revenues
      specified for the spending cap (such revenues would total about $7.4 billion in 2025-26).
      Instead, I compute total college athlete compensation by adding my estimate of increased
      compensation to other compensation athletes already receive, and then I compare that total
      college athlete compensation to a measure of school athletic revenue that is comparable to
      professional athletics revenue (such revenues would total about $10.9 billion in 2025-26).43




42
     Rascher Declaration, ¶87.
43
     Rascher Declaration, Section 7.

                                                                                                    19
      Case 4:20-cv-03919-CW                  Document 717-2   Filed 03/03/25    Page 22 of 74




48. The Cragg Declaration states that this analysis comparing compensation to revenue “relies
      extensively on assumptions given to him by Class Counsel.”44 This is false. To be clear,
      the only assumptions that could possibly be tied to Class Counsel would be the
      interpretation of the language of the proposed settlement agreement. None of the objections
      dispute the interpretations that I use. Furthermore, those interpretations apply only to the
      calculations for determining the spending cap. With respect to calculations of college
      athlete compensation and college athletic revenue, I rely entirely on my own sports
      economics expertise. I explain my choices for calculating compensation and revenue in
      detail in my Reply Declaration.45

49. When added to the value of the current compensation and benefits college athletes receive
      under current NCAA rules, my estimate of a lower bound of expected additional
      compensation brings total Division I athlete compensation in 2025-26 up to about $5.6
      billion, which is 51% of comparable revenue.

50. Thus, the spending cap results in approximately half of Division I athletic revenue being
      shared with Division I athletes, not because the cap dictates a 50% share of the set of
      revenue categories agreed to in the settlement, nor because schools must spend the cap
      amount. Instead, the cap allows for increases in compensation, which competition will
      drive many schools to make, from the currently allowed level of compensation to a higher
      level. That higher level of compensation is slightly more than half of a set of revenue
      categories – chosen to align college athletic revenue reasonably closely with professional
      league revenue.

51. The careful choice of revenue categories is a process that I described fully in my Reply
      Declaration.46 There, I explain that the categories of school revenue specified in the
      settlement all have corresponding professional league revenue. As I show in my first
      Declaration, that revenue, across all Division I schools, would add up to an amount




44
     Cragg Declaration, ¶13.
45
     Rascher Reply Declaration, Sections 3 and 4.
46
     Rascher Reply Declaration, Section 3.

                                                                                                     20
      Case 4:20-cv-03919-CW                Document 717-2           Filed 03/03/25     Page 23 of 74




      expected to be about double the sum of 1) the proposed spending cap and 2) athlete
      compensation from schools that is authorized under existing NCAA rules.47

52. Here, I address each of the specific critiques about the revenue categories included in the
      calculation of the spending cap that are made in the objections to the proposed settlement.

53. First, the Fort/Noll Declaration states, “One excluded category is revenues from
      concessions, novelties, parking and programs.”48 While this is a correct statement about the
      categories of revenue used to calculate the spending cap, it would be an incorrect statement
      about the share of college athletic revenue expected to go toward college athlete
      compensation. When I compare total college athlete compensation to college athlete
      revenue, I do include this category of revenue.49

54. Second, the Fort/Noll Declaration states, “A related revenue category that is not included in
      the shared revenue pool is income derived from gambling.”50 College programs have, by
      and large, avoided gambling sponsorships but my understanding is that in those few cases
      where a school has partnered with a gambling entity,51 the MFRS data account for that as
      part of “sponsorship” and thus those revenues are included in my calculations. As for those
      Division I schools that do not have revenue from gambling – it would be speculative to add
      an amount for gambling. It is my understanding that, in the event that Division I schools
      begin to obtain revenue from gambling in the future, class counsel can, through the audit
      process allowed for by the proposed settlement, incorporate that gambling revenue into the
      calculation of the cap. This would lead to a higher cap, presumably. With a higher cap,
      competitive pressure can cause some (not necessarily all) schools to increase athlete
      compensation, thus preserving, roughly, the amount of compensation relative to revenue.



47
     Rascher Declaration, Section 7, Exhibit 26.
48
     Fort/Noll Declaration, ¶41.
49
     Rascher Declaration, ¶87, referencing Section 5.1 (see ¶43).
50
     Fort/Noll Declaration, ¶42.
51
     Keeler, S. (Updated 2020, September 8). “CU Buffs announce 5-year partnership with online sportsbook
     PointsBet.” The Denver Post. Accessed on February 27, 2025 at https://www.denverpost.com/2020/09/08/cu-
     buffs-betting-on-sports-gambling-football/; Draper, K. (2023, March 29). “Facing Criticism, a Gambling
     Company and a University End Their Deal.” The New York Times. Accessed on February 27, 2025 at
     https://www.nytimes.com/2023/03/29/sports/sports-betting-universities-pointsbet-caesars.html.

                                                                                                               21
      Case 4:20-cv-03919-CW                Document 717-2           Filed 03/03/25   Page 24 of 74




55. Third, the Fort/Noll Declaration states, “The shared revenue pool also excludes all
      government payments, including appropriations that are paid on a per-student basis (that is,
      that are based on enrollment).”52 Government spending has no clear comparator in the
      professional leagues that would be part of the revenues for the revenue-sharing
      arrangements in CBAs.

56. Fourth, the Fort/Noll Declaration states, “... if seat license fees are sports-related revenue
      for pro teams, charitable contributions that serve the same purpose should have the same
      status.”53 While it is correct that charitable contributions are not included in the categories
      of revenue used to calculate the spending cap, I do include half of such contributions as
      revenue in my analysis of the share of college athletic revenue expected to go toward
      college athlete compensation.54 I did this for the very reason pointed to in the Fort/Noll
      Declaration, because the inclusion is conditional on whether the contribution relates to
      purchase of goods or services: the money should be included if it related to ticket purchases
      but not if it relates to other philanthropic issue. The Fort/Noll Declaration’s use of “if”
      shows that inclusion of 100% of these revenues would be an overestimate. I agree. The
      Fort/Noll Declaration does not specifically dispute my adoption of 50% as an estimate of
      the portion to include.

57. The Cragg Declaration complains that funds NIL collectives receive and pay to college
      athletes at a particular school are not included in college athletic revenue, and that, with
      respect to payments by colleges for the use of NILs of college athletes, this fact renders the
      comparison to professional revenue sharing inaccurate. However, my calculations of
      college athlete compensation and college athletic revenue both exclude only third-party
      payments, which is directly comparable to CBA calculations for professional league
      revenue-sharing, and do include compensation by schools. The Cragg Declaration
      acknowledges that “Professional sports leagues do not offset revenue-sharing with
      sponsorship payments” and notes that professional athletes receive “sponsorship deals,




52
     Fort/Noll Declaration, ¶44.
53
     Fort/Noll Declaration, ¶46.
54
     Rascher Declaration, ¶87, referencing Section 5.1 (see ¶43).

                                                                                                     22
      Case 4:20-cv-03919-CW               Document 717-2     Filed 03/03/25       Page 25 of 74




      which are separate from and outside the scope of their contracts with the NBA.”55 On the
      college side, in comparison, payments by schools for the use of athletes’ NILs do count
      toward the maximum spending cap. In other words, my estimate of college athlete
      compensation under the proposed settlement includes compensation from schools for the
      use of athletes’ NILs but does not include compensation from third-parties for the use of
      athletes’ NILs.

58. Finally, the objections raise a number of points about non-monetary differences between
      the arrangements for college athletes in the proposed settlement and the arrangements for
      professional athletes in CBAs. The Fort/Noll Declaration flatly states, “a CBA is not a
      valid benchmark for the IRCS unless all provisions in the CBA that are not part of the ICRS
      [sic] deliver no net benefits to athletes.”56

59. It is my understanding that the proposed settlement does not require athletes to give up the
      potential for collective bargaining or employee status, and thus my analysis does not
      assume that athletes are surrendering this option when I evaluate the settlement.
      Furthermore, I observe that differences arising from collective bargaining in the
      professional leagues do not bias the comparison calculation in a specific direction. Each
      side of the comparison, college or professional, has non-monetary forms of compensation
      not available to the other side. For example, professional leagues generally have more
      events per season, while Division I colleges have more slots for athletes (with a much
      higher number of teams), which in typical labor situations would involve a trade off with
      level of pay. Similarly, college athletes now have considerable flexibility to transfer
      between teams (they have as much flexibility as possible without risking contest legitimacy
      issues – i.e., if they transferred during the season and played) without foregoing monetary
      compensation (and possibly increasing monetary compensation). This is more flexibility
      than free agent professional athletes have under professional CBAs and that too is a benefit
      for which athletes will often accept lower aggregate compensation to achieve. Most
      notably, college athletes gain the benefit of advancing their college education while
      pursuing their athletic career, a choice that is not available for professional athletes.


55
     Cragg Declaration, Section III.B.1 header and ¶36.
56
     Fort/Noll Declaration, ¶19.

                                                                                                  23
      Case 4:20-cv-03919-CW                Document 717-2            Filed 03/03/25         Page 26 of 74




60. The Fort/Noll Declaration also states, when discussing that the proposed settlement differs
      from CBAs in the coverage of a broad set of sports and more heterogenous set of athletes,
      “the prospect of donations from a few benefactors may be sufficient to cause a college to
      support a minor sport, but such charitable contributions are not part of shared revenue in the
      IRCS” and goes on to talk about the value to schools of greater demand for applications that
      such a sport might bring.57 It should be obvious that schools were prevented from fully
      compensating college athletes relating to any of these values under the existing NCAA
      rules (or this lawsuit would not exist). In contrast, the settlement allows schools to provide
      such compensation. The argument presented by objectors here simply asserts that some
      schools may have to choose among priorities if the level of compensation they choose to
      provide approaches the spending cap. Schools that see more value in the benefits arising
      from adding a “minor sport” than other spending would be able to make that choice under
      the settlement, just as they are able to now.58

61. Thus, the comparison to the amount of compensation to athletes in the pros is instructive
      even in the presence of some distinctions in non-monetary aspects of athlete engagement.
      Most importantly, the comparison confirms that proposed settlement provides college
      athletes with significant relief from the harm to competition created by the existing NCAA
      rules. In fact, as I noted above in Section 3.3, one of the authors of the Fort/Noll
      Declaration engaged in this same sort of comparison in the O’Bannon case, despite flatly
      objecting to such a comparison in this matter.59




57
     Fort/Noll Declaration, ¶26, fn. 9.
58
     As one example, under the current rules, a women’s softball team is limited to a total of 12 GIAs. My analysis
     shows that, on average, a softball team has approximately 23 athletes per year. Under new rules, the team could
     pay a full GIA to all of the 25 athletes allowed under the new roster cap, which would represent an increase in
     pay of 13 GIAs. Even if the team did not expand the roster size, it still could provide 11 additional GIAs above
     the current limits.
59
     In the O’Bannon matter, the discussion concerned the choices of which revenue categories to incorporate into
     the analysis for damages related to athlete NIL, whereas the discussion here concerns the choices of which
     revenue categories to use for the purpose of assessing the level of compensation under the proposed settlement,
     but the concept of comparing college athlete compensation to professional athlete compensation (within the
     context of CBAs) is the same in both matters, despite college athletes not having a CBA (for example, Expert
     Report on Class Certification of Roger G. Noll, October 22, 2012, pp. 100-101, with additional explanation pp.
     101-104).

                                                                                                                  24
      Case 4:20-cv-03919-CW                Document 717-2            Filed 03/03/25         Page 27 of 74




4.   SPORTS PROGRAMS ARE NOT IN PERIL DUE TO ROSTER LIMITS OR SPENDING ON
     COMPENSATION

62. In previous reports, I addressed arguments that Defendants asserted (incorrectly) as pro-
      competitive justifications for the current rules restricting NIL compensation to athletes. In
      particular, I demonstrated, in my PCJ Rebuttal Report that there is neither empirical or
      theoretical support for claims that the current rules improved competition for athletes’
      services across all sports.60 Some of the objections raised to the proposed injunctive relief
      class settlement similarly touch upon the prospect of changes in funding for athletic
      programs, either overall or for specific sports or categories of athletes.

63. For example, with respect to the proposed settlement, Hausfeld Objectors note that third-
      party compensation does not count as revenue for calculating the spending cap: “One of the
      exclusions also specifically targets lucrative funds presently distributed by NIL Collectives
      that would most likely take the form of unrestricted gifts to the schools (rather than direct
      payments to the athletes).”61 I have previously explained why the critiques about categories
      of revenue to include in calculating the spending cap are misplaced (in Section 3.3.1) and
      how the practice of 1) excluding funds to NIL collectives from revenue, and 2) excluding
      corresponding athlete compensation from the spending cap, correctly isolates those cash
      flows from the measurement of school compensation to athletes. Here I address the
      parenthetical implication of the objection: that third parties might shift from making direct
      payments to athletes via NIL collectives, under the current rules, to making (possibly)
      unrestricted donations to schools, under the proposed settlement.

64. It is my understanding that under the proposed settlement only NIL deals that involve
      “Associated Entities or Individuals” are subject to the fair market value (FMV) standard,
      while the current rules are more restrictive, applying to “boosters,” which is much broader
      in its definition of who constitutes a booster.62 In other words, the proposed settlement
      allows for more leeway on third party NIL deals than under the current rules.


60
     Expert PCJ Rebuttal Report of Daniel A. Rascher, January 26, 2024, Sections 5 and 6.
61
     Hausfeld Objections, p. 16.
62
     Amended Injunctive Relief Settlement, Article 4, Section 3 (and Article 1, Section 1, which defines “Associated
     Entity or Individual”); NCAA. “Interim Name, Image and Likeness Policy Guidance Regarding Third Party
     Involvement.” Available at https://ncaaorg.s3.amazonaws.com/ncaa/NIL/May2022NIL_Guidance.pdf.

                                                                                                                 25
      Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25      Page 28 of 74




65. I consider, as an assumption (not a conclusion), the idea that third parties who desire to
      support college athletics and are currently doing so through donations to NIL collectives
      could alternatively donate some or all of that money to the schools rather than to the
      collective. Rather than presume that such donations would be restricted or unrestricted, I
      instead expect that schools and donors would work out the extent of restrictions on a case-
      by-case basis (within the boundaries of what the NCAA rules allow). Thus, this argument
      becomes a discussion about who, among individual schools and individual donors, controls
      how the money gets used, not whether there is a substantially different amount of money
      available to compensate athletes. Notably, however, it would no longer be the collective set
      of Division I schools establishing control over athlete compensation. Instead, it is
      competition between schools that can drive some schools to seek out and/or spend more
      donor money on athlete compensation.


4.1   THE PROPOSED SETTLEMENT PROVIDES FOR SUBSTANTIALLY HIGHER SCHOLARSHIP
      BENEFITS TO COLLEGE ATHLETES WITHOUT ANY SUBSTANTIAL CHANGE IN PARTICIPATION

66. My previous declarations did not address the part of the settlement that includes changes to
      roster sizes across various Division I sports. In this section, I analyze whether those
      changes would injure class members by harming competition for college athlete services.

67. Under the existing rules without the settlement, some Division I sports were “headcount”
      sports, meaning that there were limits on the number of athletes (for a given sport) who
      could receive any athletic scholarship (whether full or partial). The implications of the
      existing rules were that athletes in headcount sports included a number of full-scholarship
      athletes, within a specified range for each school, as well as a number of “walk-ons”
      without scholarships (and, less commonly, sometime schools’ rosters included partial GIA
      recipients). For equivalency sports, those athletes received either full or partial
      scholarships, but the total amount of scholarship dollars across all athletes in a given sport
      could not exceed the equivalent limit of GIAs set by NCAA rules. For example, an
      equivalency sport with a limit of 20 GIAs could have 20 full-scholarship athletes or 40
      athletes with 50% scholarships. “Under previous rules, most NCAA sports featured a
      scholarship limit (different by sport), but a few sports had a finite roster cap. For example,



                                                                                                   26
      Case 4:20-cv-03919-CW                Document 717-2             Filed 03/03/25         Page 29 of 74




      the sport of men’s volleyball was allotted just 4.5 scholarships but often kept on its roster as
      many as 25 players, or however many the school permitted.”63

68. Under the proposed settlement, NCAA Division I rules essentially merge the notion of
      headcount versus equivalency sports. As I addressed above in Section 3.1, the settlement
      will not impose any limit on the number of scholarships offered or spending on scholarships
      by each school. However, all sports would have a roster limit on the number of
      participating athletes. “As part of the new policy, scholarship caps were removed, replaced
      by formal roster limitations that permit schools – not require them – to offer scholarships to
      their entire rosters.”64

69. One issue in the objections to the proposed settlement is whether the new roster-size limits
      would reduce participation in Division I athletics, even while the amount of scholarship
      funding increases. An article attached to the Hausfeld Objection makes the (partially)
      erroneous statement that “While this will likely produce more scholarships, the roster caps
      will require the elimination of walk-on athletes and even, perhaps, some on partial
      scholarships ....”65 The settlement does not eliminate walk-on athletes – it does not end the
      possibility of schools continuing to employ walk-ons, to the extent the number of GIA
      recipients is less than the number of available roster spots. Moreover, to the extent a walk-
      on or partial GIA position is eliminated because that athlete receives a full GIA, that
      outcome should not be seen a harm to competition.




63
     Appendix C to Hausfeld Objections: Dellenger, R. (2024, Oct. 25) “Historic House-NCAA settlement leaving
     hundreds of Olympic sport athletes in peril,” Yahoo! Sports. A few sports such as baseball, hockey, and FCS
     football have rules that combine aspects of both categories – headcount and equivalency. For example, baseball
     has been limited to 11.7 total GIAs, but if a school provides any GIA funding to a baseball athlete, that funding
     must be at least 25%, meaning that no more than 4*11.7 athletes can receive baseball GIAs (NCAA Manual
     states annual limit of 27 on the total number of counters for Baseball). In Hockey, the limit is 18 GIAs, but
     those GIAs could be shared by no more than 30 athletes. FCS football is limited to 63 GIAs spread across no
     more than 85 recipients. See NCAA Division I 2024-25 Manual, p. 191, p.193, p.194. Available at
     https://www.ncaapublications.com/productdownloads/D125.pdf.
64
     Appendix C to Hausfeld Objections: Dellenger, R. (2024, Oct. 25). “Historic House-NCAA settlement leaving
     hundreds of Olympic sport athletes in peril,” Yahoo! Sports.
65
     Appendix C to Hausfeld Objections: Dellenger, R. (2024, Oct. 25). “Historic House-NCAA settlement leaving
     hundreds of Olympic sport athletes in peril,” Yahoo! Sports. The sentence concludes with the accurate
     parenthetical “(though both the settlement and NCAA rules prohibit existing scholarship athletes from losing his
     or her scholarship).”

                                                                                                                   27
      Case 4:20-cv-03919-CW                Document 717-2            Filed 03/03/25         Page 30 of 74




70. Other than incorrect claims that scholarships would be limited under the proposed
      settlement, I do not observe any objections related to competition. In other words, there
      appears to be no dispute that the lack, under the proposed settlement, of any limits on
      funding of scholarships by any Division I school will be procompetitive. Hence, the
      objections are limited to whether athletic participation would decline or specific class
      members would be harmed. For example, “The revenue sharing came with cuts in existing
      college athlete rosters that are already wreaking havoc, and artificial limits on new
      scholarships that will injure non-revenue creating sport programs at numerous colleges”
      and “Grant House..., one of the named plaintiffs, is on record as saying that he did not agree
      to any such roster limitations that could cost his sport hundreds of lost positions”66

71. To address these objections, I examined the actual number of athletes on the rosters across
      each Division I sport under the existing rules in two academic years (2022-23 and 2023-
      24).67 I analyzed what would be the effect of imposing the new roster limits on those prior
      years. These expressed concerns do not, in actuality, relate to any substantial restriction in
      competition among Division I schools for college athletes. While there may be some
      impact at some schools for a small number of athletes, the settlement would not require any
      school to cancel any so-called “non-revenue” sports programs (including Grant House’s
      sport of Swimming and Diving, which would have more roster slots available under the
      new rules than the average number of athletes on the rosters in either of the previous years I
      examined).




66
     Hausfeld Objections, pp. 4 and 5.
67
     I note that both of these academic years may have some continuing effects from the COVID-19 pandemic,
     including a “bump” of additional athletes from a temporarily permitted sixth year of participation that will be
     working its way out of the participation numbers as the settlement implementation begins. (Goodrow, Z. (2021,
     March 15). “Understanding the NCAA COVID-19 eligibility extensions.” Grand Valley Lanthorn. Accessed on
     February 28, 2025 at https://lanthorn.com/81318/sports/understand-the-ncaa-covid-19-eligibility-extensions/;
     Moskowitz, J. (2023, December 6). “Student-athletes navigate COVID eligibility loopholes.” The Ithacan.
     Accessed on February 28, 2025 at https://theithacan.org/51832/sports/sports-features/student-athletes-navigate-
     covid-eligibility-loopholes/).

                                                                                                                  28
  Case 4:20-cv-03919-CW                    Document 717-2                          Filed 03/03/25                    Page 31 of 74




Exhibit 2. 2022-23 and 2023-24 Division I Actual Roster Sizes vs Proposed Roster Limits

                                                                 Actual             Actual
                                                                Average            Average
                                                               Roster Size:       Roster Size:      Proposed
                 Sport                                          2022-23            2023-24         Roster Limits
                 Baseball                                           39.7               41.9              34
                 Football - FBS                                    128.2              142.4             105
                 Football - FCS                                    113.3              118.7             105
                 Men's Basketball                                   15.7               15.9              15
                 Men's Cross Country                                15.8               16.4              17
                 Men's Fencing                                      18.3               18.0              24
                 Men's Golf                                          9.8               10.0               9
                 Men's Gymnastics                                   20.8               21.6              20
                 Men's Ice Hockey                                   28.4               28.5              26
                 Men's Indoor Track and Field                       39.1               41.5              45
                 Men's Lacrosse                                     50.8               52.7              48
                 Men's Outdoor Track and Field                      39.0               41.5              45
                 Men's Skiing                                       14.5               13.2              16
                 Men's Soccer                                       31.7               32.5              28
                 Men's Swimming and Diving                          29.2               29.2              30
                 Men's Tennis                                       10.1               10.1              10
                 Men's Volleyball                                   21.1               21.5              18
                 Men's Water Polo                                   25.6               25.2              24
                 Men's Wrestling                                    34.7               34.8              30
                 Rifle                                              10.7               10.8              12
                 Softball                                           22.8               23.5              25
                 Women's Acrobatics and Tumbling                    38.3               35.7              55
                 Women's Basketball                                 14.5               14.4              15
                 Women's Beach Volleyball                           17.8               19.2              19
                 Women's Bowling                                     8.9                9.2              11
                 Women's Cross Country                              16.6               17.4              17
                 Women's Equestrian                                 39.2               39.0              50
                 Women's Fencing                                    18.0               16.8              24
                 Women's Field Hockey                               25.0               24.9              27
                 Women's Golf                                        8.5                8.4               9
                 Women's Gymnastics                                 20.7               20.6              20
                 Women's Ice Hockey                                 25.8               25.6              26
                 Women's Indoor Track and Field                     39.9               41.9              45
                 Women's Lacrosse                                   34.3               34.7              38
                 Women's Outdoor Track and Field                    39.9               41.7              45
                 Women's Rowing                                     57.1               59.5              68
                 Women's Rugby                                      38.0               38.5              36
                 Women's Skiing                                     13.3               13.6              16
                 Women's Soccer                                     30.4               31.2              28
                 Women's Stunt                                                         38.1              65
                 Women's Swimming and Diving                          30.7             30.8              30
                 Women's Tennis                                        9.2              9.3              10
                 Women's Triathlon                                     8.9              8.8              14
                 Women's Volleyball                                   17.3             18.1              18
                 Women's Water Polo                                   22.7             22.2              24
                 Women's Wrestling                                    16.5             23.7              30

                 Notes:
                  Rifle is a Coed Championship Sport, although some schools field all-women's teams. The
                  Settlement Agreement sets a single roster cap without regard for gender, but the NCAA
                  Sports Sponsorship and Participation Rates Report reports separate men's and women's
                  counts for Rifle. Since no schools field all-men's teams, the "Rifle" roster sizes above reflect
                  the number of women's teams and the sum of men's and women's players listed in the NCAA
                  Sports Sponsorship and Participation Rates Report.

                   The NCAA Sports Sponsorship and Participation Rates Report lists women's stunt as an
                   "other" sport in 2022-23 with only one team.


                 Sources:
                   See backup materials.


                                                                                                                                     29
        Case 4:20-cv-03919-CW                  Document 717-2          Filed 03/03/25         Page 32 of 74




72. The effect of the roster limits varies across sports. In the 2022-2023, 17 specific sports had
        actual average roster sizes that were above the new roster limits (with the majority of those
        being men’s sports) and 28 sports had actual average roster sizes that were below the new
        roster limits. In the second year, 20 specific sports had actual average roster sizes that were
        above the new roster limits (all 17 from the previous year plus 3 more) and 26 had actual
        average roster sizes that were below the new roster limits. Only the men’s sports of
        baseball and football (which shows up as two sports on the exhibits: FBS football and FCS
        football) had actual average roster sizes exceeding the new limits by more than five athletes
        per squad.68 And for football, the new roster sizes allow for more scholarships to football
        athletes in each squad than the prior “headcount” limits. For sports other than football, in
        aggregate, the roster limits exceeded the number of participating athletes in both years.69

 Exhibit 3. Summary of Division I Actual Average Roster Sizes vs Proposed Roster Limits

     Category                                                                                2022-23     2023-24
     Actual Average Roster Size Above Proposed Roster Limits: Men's Sports                      13          13
     Actual Average Roster Size Above Proposed Roster Limits: Women's Sports                     4           7
     Total                                                                                      17          20

     Actual Average Roster Size Below Proposed Roster Limits: Men's Sports                       6            6
     Actual Average Roster Size Below Proposed Roster Limits: Women's Sports                    22           20
     Total                                                                                      28           26

     Notes:
      Analysis considers rifle as part of women's sports. FBS and FCS football considered as separate sports.
      In 2023-24, actual average roster sizes for all 17 sports from 2022-23, along with three additional sports,
      exceeded the proposed roster limits.

     Sources:
       See backup materials.



73. It would be erroneous to conclude that the roster limits will have no effect on any Division I
        athlete, although it is notable that the settlement does protect the existing scholarships of


68
      Text Cite - Sports Exceeding by Five.
69
      Text Cite - Roster Limits ex-Football.

                                                                                                                    30
      Case 4:20-cv-03919-CW               Document 717-2            Filed 03/03/25         Page 33 of 74




      current athletes who continue to participate during the period covered by the injunctive
      relief class settlement. In general, however, there will be more athletic compensation in the
      form of scholarships. For example, Ohio State and Clemson have already announced an
      increase in scholarships with Ohio State adding 91 scholarships and Clemson adding 150
      for the 2025-26 academic year.70 The University of Georgia plans to pay football players
      $13.5 million in the coming year and add 100 scholarships across other sports. UGA also
      notes that it thinks that this amount is in line with its peers in the SEC conference.71 Texas,
      also in the SEC, will be adding almost 200 scholarships.72 With expansions in scholarships,
      some athletes who are currently walk-ons or have only partial scholarships may under the
      settlement be able to receive more scholarship compensation. Also, athletes who face
      constrictions obtaining scholarship funds at one school would be able to offer their services
      at a different school where roster slots are less limited.

74. Exhibit 4 shows that the new roster limits allow for more scholarships to athletes. Schools
      will have the ability under the settlement to increase scholarship compensation in almost
      every sport (of the sports that had teams in 2023-24, there is no decline for any sport and
      the level remains unchanged for only one sport). Exhibit 5 shows, for example, that the
      proposed settlement would allow Power Five schools alone the flexibility to increase
      scholarship levels across sports by over 24,000.




70
     Pells, E. (2024, November 22). “Ohio State to keep all sports, add 91 scholarships in new college landscape.”
     The Associated Press. Accessed on February 25, 2025 at https://apnews.com/article/ohio-state-scholarships-
     11fd4da3a684389311e7caf1995cc68d; Iacobelli, P. (2024, Nov. 26) “Clemson AD Neff says school will fully
     fund NCAA settlement and add 150 scholarships in two years.” The Associated Press. Accessed on February 25,
     2025 at https://apnews.com/article/clemson-neff-ncaa-settlement-740c62b8d694d437ceba1e77618ea32b.
71
     Emerson, S. (2025, February 25). “Georgia, SEC schools expected to pay football athletes about 75 percent of
     revenue sharing,” New York Times. Accessed on February 26, 2025 at
     https://www.nytimes.com/athletic/6159981/2025/02/25/college-football-revenue-sharing-georgia-sec/.
72
     Keith, B. (2025, February 28). “Texas Will Add Almost 200 New Athletics Scholarships, Including 100% Full
     Rides for Swim Teams.” Swim Swam. Accessed on February 28, 2025 at https://swimswam.com/texas-will-
     add-almost-200-new-athletics-scholarships-including-100-full-rides-for-swim-teams/.

                                                                                                                31
      Case 4:20-cv-03919-CW                                 Document 717-2                        Filed 03/03/25                    Page 34 of 74




                  Exhibit 4. Number of Additional Scholarships That Can Be Awarded

                                                                               Maximum GIA Total Maximum Total Maximum
                                                               Proposed Roster Allowed in 2024- GIA Allowed in GIA Allowed
Sport                                            Teams             Limits            25            Future         Now                               Difference
Baseball                                           295                 34            11.7            10,030         3,452                              6,579
Football - FBS                                     134                105            85.0            14,070        11,390                              2,680
Football - FCS                                     121                105            63.0            12,705         7,623                              5,082
Men's Basketball                                   352                 15            13.0             5,280         4,576                                704
Men's Cross Country                                318                 17             5.0             5,406         1,590                              3,816
Men's Fencing                                       22                 24             4.5               528            99                                429
Men's Golf                                         295                  9             4.5             2,655         1,328                              1,328
Men's Gymnastics                                    12                 20             6.3               240            76                                164
Men's Ice Hockey                                    41                 26            18.0             1,066           738                                328
Men's Indoor Track and Field                       269                 45             3.8            12,105         1,022                            11,083
Men's Lacrosse                                      71                 48            12.6             3,408           895                              2,513
Men's Outdoor Track and Field                      293                 45             3.8            13,185         1,113                            12,072
Men's Skiing                                        11                 16             6.3               176            69                                107
Men's Soccer                                       203                 28             9.9             5,684         2,010                              3,674
Men's Swimming and Diving                          130                 30             9.9             3,900         1,287                              2,613
Men's Tennis                                       236                 10             4.5             2,360         1,062                              1,298
Men's Volleyball                                    25                 18             4.5               450           113                                338
Men's Water Polo                                    27                 24             4.5               648           122                                527
Men's Wrestling                                     73                 30             9.9             2,190           723                              1,467
Rifle                                               21                 12             3.6               252            76                                176
Softball                                           297                 25            12.0             7,425         3,564                              3,861
Women's Acrobatics and Tumbling                      6                 55            14.0               330            84                                246
Women's Basketball                                 350                 15            15.0             5,250         5,250                                  0
Women's Beach Volleyball                            67                 19             6.0             1,273           402                                871
Women's Bowling                                     38                 11             5.0               418           190                                228
Women's Cross Country                              349                 17             6.0             5,933         2,094                              3,839
Women's Equestrian                                  19                 50            15.0               950           285                                665
Women's Fencing                                     27                 24             5.0               648           135                                513
Women's Field Hockey                                77                 27            12.0             2,079           924                              1,155
Women's Golf                                       267                  9             6.0             2,403         1,602                                801
Women's Gymnastics                                  61                 20            12.0             1,220           732                                488
Women's Ice Hockey                                  26                 26            18.0               676           468                                208
Women's Indoor Track and Field                     334                 45             6.0            15,030         2,004                            13,026
Women's Lacrosse                                   125                 38            12.0             4,750         1,500                              3,250
Women's Outdoor Track and Field                    342                 45             6.0            15,390         2,052                            13,338
Women's Rowing                                      90                 68            20.0             6,120         1,800                              4,320
Women's Rugby                                       10                 36            12.0               360           120                                240
Women's Skiing                                      11                 16             7.0               176            77                                 99
Women's Soccer                                     336                 28            14.0             9,408         4,704                              4,704
Women's Swimming and Diving                        191                 30            14.0             5,730         2,674                              3,056
Women's Tennis                                     301                 10             8.0             3,010         2,408                                602
Women's Triathlon                                   12                 14             6.5               168            78                                 90
Women's Volleyball                                 334                 18            12.0             6,012         4,008                              2,004
Women's Water Polo                                  35                 24             8.0               840           280                                560
Women's Wrestling                                    3                 30            10.0                90            30                                 60

Notes:
 Figures based on number of teams in 2023-24.
 Calculations use equivalency limits where available, and headcount limits otherwise.
 For women's beach volleyball, equivalency limits based on guidelines for schools that sponsor both volleyball and beach volleyball.
 The Division I 2024-25 manual only provides equivalency limits for men's rifle (co-ed sport).
 Rifle team counts based on women's rifle data, since no schools field all-men's teams.
 Analysis assumes indoor and outdoor track and field have the same equivalency limit. This limit is calculated using equivalencies allocated for 1) "Cross
 Country/Track and Field" and 2) institutions that sponsor cross country but not indoor/outdoor track and field.
  Women's stunt is an emerging sport and not included in the table (the NCAA Sports Sponsorship Spreadsheet does not list any teams in 2023-24), but the
  maximum scholarship limit goes from 14 to 65 in the proposed settlement.


Sources:
  See backup materials.




                                                                                                                                                                 32
       Case 4:20-cv-03919-CW                 Document 717-2              Filed 03/03/25           Page 35 of 74




                 Exhibit 5. Summary of Additional Scholarships That Can Be Awarded

                                                       Total Maximum Total Maximum
                                                       GIA Allowed in GIA Allowed
                       Category                            Future          Now                      Difference
                  Power Five: All Sports                     41,940        17,777                      24,163
                Non-Power Five: All Sports                  150,087        59,049                      91,038

               All Division I: Counter Sports                 60,592               41,047               19,546
             All Division I: Non-Counter Sports              131,435               35,780               95,655

                Power Five: Counter Sports                    13,967               10,081               3,886
              Power Five: Non-Counter Sports                  27,973                7,696              20,277
                All Division I: All Sports                   192,027               76,826             115,201

        Notes:
         Figures based on number of teams in 2023-24.
         For this analysis, "Counter Sports" include FCS football, baseball, ice hockey, and beach volleyball.
         However for these sports, the analysis uses scholarship (equivalency) limits. All other Counter Sports use
         participation limits.
          For women's beach volleyball, equivalency limits based on guidelines for schools that sponsor both
          volleyball and beach volleyball.
          Rifle team counts based on women's rifle data, since no schools field all-men's teams
          Analysis assumes indoor and outdoor track and field have the same equivalency limit. This limit is
          calculated using equivalencies allocated for 1) "Cross Country/Track and Field" and 2) institutions that
          sponsor cross country but not indoor/outdoor track and field.


        Sources:
          See backup materials.




4.2     THE PROPOSED SETTLEMENT PROVIDES SCHOOLS MORE FLEXIBILITY TO DIRECT
        COMPENSATION TO ATHLETES THAT GENERATE MORE BENEFITS

75. Some of the objections raised to the proposed settlement highlight the differences between
       schools and the various ways that specific settlement terms may differentially affect the
       competitive advantages of some schools for attracting college athletes. These arguments
       are a mirror-image of the arguments about athlete heterogeneity presented incorrectly as
       pro-competitive benefits for the NCAA rules that have previously existed.73



73
      Expert PCJ Rebuttal Report of Daniel A. Rascher, January 26, 2024, Section 6.1.

                                                                                                                      33
      Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25      Page 36 of 74




76. The nature of competitive markets is to provide transacting parties with the ability to co-
      create value by identifying the most beneficial transactions. The nature of anti-competitive
      restrictions on schools is to prevent schools from “putting their best foot forward” to attract
      the college athletes with compensation commensurate with the benefits that each athlete
      brings to the school. The fact that some schools may be able to make more attractive offers
      than other schools on some dimensions is not new with the settlement, but what is new is
      that schools will have substantially more freedom to compete with far more attractive and
      flexible packages, in aggregate and to individual athletes.

77. A prominent example of this type of spurious objection is the assertion that “Fort and Noll
      demonstrate that any rule limiting increases in the number of scholarships should not be
      expressed as a dollar cap, but should instead be identified with reference to the number of
      additional scholarships that are allowed.”74 The specific passage cited to in the Fort/Noll
      Declaration is not clear, but it may be referencing the passage that begins with the
      following paragraph:

         The problem that is created by this restriction arises because the face value
         of a scholarship differs greatly among Division 1 colleges. Consequently,
         the permitted increase in the number of athletes varies substantially among
         schools due to differences in their cost of attendance. The resulting
         distortion in the market for Division 1 athletes is new – it does not exist in
         the pre-settlement world in which the number of scholarships, not their
         aggregate value, is capped. Thus, under the old rules all schools could
         have the same number of scholarships regardless of the sticker price of
         attending the university.75
78. It is correct that the face value of a scholarship differs greatly among Division I colleges,
      reflecting differences in value that markets place on different educational programs.
      Fort/Noll claim that the settlement introduces a new distortion that did not previously exist,
      but the heterogeneity of education across different schools is neither new nor a distortion –
      it is simply a characteristic of the market. The distortion occurs when schools collectively
      agree to restrictions that result in all schools offering the same compensation packages – the
      conduct that the settlement would terminate.



74
     Hausfeld Objections, p. 20.
75
     Fort/Noll Declaration, ¶30.

                                                                                                    34
       Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25       Page 37 of 74




79. Under the proposed injunctive relief class settlement, each school would have more
       freedom to use the tools at its disposal to most efficiently attract the available athletes that
       the schools value the most. Because of this competition, compensation to athletes would
       rise toward the actual value of the athletes’ services, rather than remain at the distorted
       (suppressed) compensation that existed because of the Defendants’ anticompetitive
       conduct.

80. The same argument applies for in-state vs. out-of-state tuition at public schools: “...the
       public college has an incentive to give its new scholarships to in-state students in order to
       maximize its numerical advantage in incremental scholarships over its cross-town rival.”76
       As an initial matter, Fort/Noll base this argument on the idea that there is a dollar cap on
       new scholarships that can be awarded, but as described above, that is not accurate.
       Furthermore, in terms of attracting the students that the school values the most, this point is
       true about any scholarship under any budget restriction, not just athletic scholarships.
       Schools are free to use the tools at their disposal to most efficiently attract the available
       athletes that the schools value. That is a feature of competition, not a problem with the
       proposed settlement.


4.3     THE PROPOSED SETTLEMENT CONTINUES AND IMPROVES SCHOOLS’ ABILITY TO ACHIEVE
        THE BENEFITS OF MAINTAINING SPORTS PROGRAMS

81. There appears to be no dispute between the objectors and the parties to the proposed
       settlement that athletic programs are beneficial to Division I schools. Even when the
       collusive restraint of NCAA Division I rules restricting athlete compensation distorted
       expenditures within the athletics department, with schools making allowable expenditures
       because they were prevented from more efficient expenditures directly compensating
       athletes, schools only ever intended for the amount expended on athletic programs to be
       capped by the benefits of the athletic programs to the schools. The concerns do not relate to
       any substantial restriction in competition among Division I schools for college athletes.

82. I addressed this point directly in my Merits Reply Report:

          “... schools will choose to make expenditures that maximize benefits. If
          there are marginal benefits to spending money on athletes in various
76
      Fort/Noll Declaration, ¶33.

                                                                                                       35
      Case 4:20-cv-03919-CW               Document 717-2            Filed 03/03/25       Page 38 of 74




         sports, then the incentives for such spending exist regardless of the
         existence of the challenged NIL rules. Attributing the existence of
         benefits to the challenged NIL rules instead of the obvious value that
         schools display when recruiting athletes is, with respect to economics,
         merely a strawman argument to undermine the direct finding of antitrust
         injury.”77
83. I also made a similar point in a report cited in the Hausfeld Objections, “A general estimate
      using these adjustments ... shows that only 10% of D1 schools were losing money from
      their athletics program during the mid-1990s despite most Athletic Departments showing
      accounting losses.”78

84. The Fort/Noll Declaration echoes this sentiment: “University administrators allocate
      general funds to athletics because college sports are good investments in building public
      support for a university, ...” However, the Fort/Noll Declaration then goes on to
      mischaracterize the proposed settlement, saying, “The agreement plays to a ‘stop them
      before they spend again’ mentality without any attention at all to the details of the true
      relationship between university administrators and their college sports endeavor. The
      rationale for the IRCS hangs on this thoroughly discredited myth.”79

85. The proposed settlement, from an economic perspective, hangs on a balance between what
      plaintiffs think they can obtain by prevailing in the lawsuits and what defendants think they
      can protect by prevailing in the lawsuits. It removes many of the distortions that previously
      incentivized inefficient spending and it provides for greatly increased flexibility for schools.
      The proposed settlement does not go so far as to remove all constraints: it does stop some
      schools from spending some money. However, as explained in Section 3.1, the proposed
      settlement stops no school from vastly increasing spending on athletic scholarships. And
      further, as explained in Section 3.2.2, the proposed settlement stops no spending at most
      Division I schools, because the allowed spending cap is far above what competition




77
     Expert Reply Report of Daniel A. Rascher, Feb. 23, 2024 (merits), ¶287.
78
     Appendix Q to Hausfeld Objection: Rascher, D.A., & Schwarz, A.D. (Revised 2015, April 30). The Incremental
     Benefits and Costs of Football, Bowling, and Rifle at the University of Alabama at Birmingham (A Primary and
     Secondary Study). Rascher and Schwarz (Unpublished), p. iii.
79
     Fort/Noll Declaration, ¶52.

                                                                                                              36
       Case 4:20-cv-03919-CW               Document 717-2            Filed 03/03/25         Page 39 of 74




       between schools would drive most Division I schools to spend (the exception being schools
       within the Power Five conferences).

86. The proposed settlement does nothing to change the incentives that Division I schools
       currently have to maintain quality athletic programs, nor does it inhibit the schools’ ability
       to spend more money on these programs than they currently spend.


5.    COMPARISON OF NIL SETTLEMENT AMOUNTS TO SUPPORTABLE NIL DAMAGES ESTIMATES
87. In my first declaration, I described calculations comparing settlement amounts to damages
       for the use of athletes’ NILs for broadcasts (“BNIL damages”) and by third parties (“Lost
       NIL Opportunities”). For this comparison, I relied entirely on damages methodologies that
       I have provided throughout the litigation process, beginning with my class certification
       reports and continuing through the merits reports. Although there have been updates to the
       calculations based on new data and changes to class definitions, there have been no changes
       to the damages methodologies for BNIL and for Lost NIL Opportunities.

88. Objections to the proposed settlement include claims that the settlement amount is not
       reasonable in relation to the estimated damages for BNIL and for Lost NIL opportunities.
       These objections address the size of the estimated damages, not the size of the settlement
       amounts.


5.1     INVALID OBJECTIONS TO DAMAGE ESTIMATES FOR BNIL
89. With respect to BNIL damages, as I understand Professor Zimbalist’s critique, the objectors
       appear to be complaining my damages estimates are too high. To that end, Professor
       Zimbalist makes the following statement that I read to mean that he believes there is little or
       no NIL damage at all: “To the extent that pro athlete publicity or NIL rights are involved,
       they are diminutive and basically occur in the form of video clips to promote forthcoming
       telecasts.”80 The statement from Professor Zimbalist appears to be a legal position about
       contractually granted rights or obligations, an argument that, to my understanding, the class
       certification process already addressed. I presented the economics behind the damages


80
      Declaration of Andrew Zimbalist Regarding the Settlement in House et al. v. NCAA et al., January 30, 2025, p.
      4.

                                                                                                                 37
       Case 4:20-cv-03919-CW                 Document 717-2             Filed 03/03/25         Page 40 of 74




       calculation in my previous testimony, which as I explained did not hinge on whether or not
       the athletes had any specific legal right of publicity.81 Dr. Zimbalist provides no economic
       critique beyond this reliance on the right of publicity, nor does he critique my comparison
       of the proposed settlement amount for BNIL to the estimated BNIL damages.


5.2     INVALID OBJECTIONS TO DAMAGE ESTIMATES FOR LOST NIL OPPORTUNITIES
90. With respect to Lost NIL Opportunity damages, objectors complain that the estimated
       amounts are too low. First, Dr. Cragg correctly states that I reference in my declaration the
       methodology for estimating damages that I presented in my earlier reports, which I then
       adjust “to account for the differences in the makeup of the DCS classes as compared to the
       House classes.”82 Dr. Cragg incorrectly states that, my calculations “overlook the fact that
       NIL payments would likely have commenced earlier than 2021, but for the NCAA’s
       restrictions” – in fact, my calculations begin with the fact that NIL payments would have
       commenced earlier.83 Dr. Cragg then refers to public reporting by a single entity,
       Opendorse, to support his claim that college athletes earned over $3 billion from use of
       their NILs since July 1, 2021.84

91. Reliance on this publicly reported data, instead of the information on NIL transactions that
       schools reported as part of the litigation process, is the primary substantive difference
       between Dr. Cragg’s analysis and mine. I rely on the data that schools reported about
       actual NIL transactions, as required for the House case. If athletes did not report NIL
       transactions to schools, or provide sufficient detail, or if schools did not send along or
       document those reports correctly, then there is no transaction information to analyze.
       While it is possible that actual NIL compensation may lie somewhere between media
       reports and the properly documented and usable NIL transaction data provided by the
       schools, as I mention in my previous reports, my damages methodology relies on careful
       and appropriate analysis. Other than data reliability issues, which weigh very heavily in


81
      Expert Report of Daniel A. Rascher, Oct. 21, 2022 (class certification), Section 4.1.3, ¶65.
82
      Cragg Declaration, ¶51.
83
      Cragg Declaration, ¶54; Rascher Declaration, Section 4.1.3; Expert Report of Daniel A. Rascher, Oct. 21, 2022
      (class certification), Sections 4.1.1 and 7.3.
84
      Cragg Declaration, ¶¶59-60, Table 1, and Cragg Declaration Appendix B, p. 4.

                                                                                                                 38
      Case 4:20-cv-03919-CW                Document 717-2             Filed 03/03/25         Page 41 of 74




      favor of using the data provided by schools, this is not a topic of economics, but rather the
      legal topic of what sources provide reliable evidence for litigation. I rely on data produced
      in the course of the lawsuit; Dr. Cragg does not.

92. Dr. Cragg goes on to assert that a “data-driven way to estimate damages is to observe actual
      NIL payments since 2021 and project how NIL payments likely would have evolved from
      2016 onward had the NCAA restrictions not been in place.”85 I agree that there is a data-
      driven method to estimate damages, due to the natural experiment that occurred when the
      NCAA rules about third-party payments for use of athletes’ NIL changed in 2021.86 Dr.
      Cragg is incorrect when he states: “Despite acknowledging that the July 1 policy change
      represents a natural experiment, Dr. Rascher does not leverage it in his 2022 report or
      future reports to measure damage from lost NIL payments prior to 2021.”87 In fact, that
      sort of analysis is exactly what I use to develop my estimate of Lost NIL Opportunities
      damages.88

93. Dr. Cragg relies on Opendorse estimates of total NIL earnings.89 Opendorse does not
      describe its data or estimation process, so there is no way to validate those estimates.90 This
      makes the Opendorse information less reliable than the school reports. Published reports
      and third-party estimates do not examine the detail of the transaction sufficiently to confirm
      that the reported amount reflects the actual compensation to the athlete. School reports
      provide more detail to allow for conservatively estimating the actual compensation.

94. A second and important difference between the analysis suggested by Dr. Cragg and what I
      have presented in my previous testimony is that Dr. Cragg ignores whether individual
      athletes were, in fact, injured and, thus, eligible for damages. Importantly, Dr. Cragg has


85
     Cragg Declaration, ¶54.
86
     Expert Report of Daniel A. Rascher, Oct. 21, 2022 (class certification), Section 4; Expert Reply Report of
     Daniel A. Rascher, July 21, 2023 (class certification), ¶¶111, 140.
87
     Cragg Declaration, ¶56.
88
     Rascher Declaration, Section 4.1.3; Expert Report of Daniel A. Rascher, Oct. 21, 2022 (class certification),
     Section 7.3; Expert Report of Daniel A. Rascher, Dec. 1, 2023 (merits), Section 9.3.
89
     Cragg Declaration, ¶¶59-60, Table 1, and Cragg Declaration Appendix B, p. 4.
90
     Dr. Cragg does not and cannot validate the accuracy of the data – Cragg Declaration, p. 21, Table 1, and Cragg
     Declaration Appendix B, p. 4. Nor does Dr. Cragg seek to make any comparisons to any other publicly
     available estimates of NIL compensation for college athletes.

                                                                                                                    39
     Case 4:20-cv-03919-CW           Document 717-2          Filed 03/03/25     Page 42 of 74




     undertaken no analysis to determine how much of the NIL earnings since July 2021 went to
     athletes who were not enrolled during the damages period. Plaintiffs’ damages class
     contains fewer athletes for each year earlier in time, i.e., the number of injured athletes in
     2020 is much larger than in 2017, but Dr. Cragg’s estimates do not reduce damages to
     account for that. Thus, there is no determination in Dr. Cragg’s analysis that any specific
     athlete would have received compensation prior to July 2021 (and thus be eligible for Lost
     NIL Opportunity damages), and he provides no methodology to account for changes in
     individual earnings available to athletes over time. Dr. Cragg simply takes his estimates of
     total NIL compensation (from Opendorse) and adjusts estimated NIL earnings for previous
     years based solely on changes in Power Five revenue. This is the only adjustment available
     when using Opendorse estimates, which do not distinguish among individual athletes.
     Thus, there is no way to make adjustments to Opendorse estimates that would account for
     variations over time in the amount of NIL earnings athletes would have been expected to
     receive prior to July 2021.


6.   THERE ARE NO SUBSTANTIVE ECONOMIC ISSUES RAISED IN THE VOGELSONG OBJECTIONS
95. My review of the Vogelsong Objection identifies two lines of argument against the
     proposed settlement. The first argument is that the settlement of claims purportedly related
     to Fontenot matter is too low because the estimate of $1.8 billion (compared to a settlement
     of $600 million) is too low. The second argument is that the settlement of claims
     purportedly related to Cornelio matter is too low because there is no specific damages
     recovery for claims that athletes in the past who did not get full scholarships would have
     received more scholarship benefits if not for the NCAA’s scholarship maximums. The
     Second Tatos Declaration identifies as potential additional scholarships valued at $6.6
     million for two athletes in two sports at one school.

96. With respect to the Fontenot matter, the Tatos Declaration estimated potential claims at
     over $24 billion (or over $30 billion). I addressed this claim in my reply declaration,
     concluding that the estimated amounts fell outside of the scope of economically reasonable
     damages for additional compensation.

97. With respect to the Cornelio matter, the Vogelsong Objection claims that there is zero
     damage recovery – however, the preliminary assessment of damages for additional

                                                                                                      40
    Case 4:20-cv-03919-CW           Document 717-2        Filed 03/03/25      Page 43 of 74




     compensation that I present in my first declaration is inclusive of additional scholarship
     benefits, as one of the many forms additional compensation could take. Also, the
     Vogelsong Objection cites the Second Tatos Declaration estimates that baseball and softball
     athletes at Clemson in recent years would have, under the new scholarship rules in the
     proposed settlement, been eligible for $6.6 million in additional scholarships (across four
     seasons). The Vogelsong Objection calls this figure a damages estimate, despite there
     being no economic evaluation provided in the Second Tatos Declaration of injury from
     harm to competition. The Vogelsong Objection states that Clemson has announced plans to
     raise scholarships for the 2025-26 season and uses this fact alone to support the claim that
     previous seasons would have had similarly higher scholarships, and then suggests that
     extrapolating that estimate to all Power Five schools would lead to damages that “are many
     hundreds of millions of dollars if not more.”

98. The analysis presented in the Second Tatos Declaration fails to address whether which
     athletes were injured due to the harm to competition. The calculation is not an economic
     damage estimate because, absent an economic analysis of injury, the calculation bears no
     relation to any harm to competition. Furthermore, the calculation severely biases the result
     of attempting to extrapolate to more sports or schools, due to cherry-picking. Clemson is a
     Top-20 overall baseball program in recent years and so is not representative of dozens of
     Power Five baseball programs, nor of hundreds of Division I baseball programs. The
     analysis is limited to sports for which the new rules provide for a high number of possible
     (but not required) new scholarships and applies only to a school for which there is a high
     demand for athletes in those specific sports. Even if the Second Tatos Declaration provided
     some connection between this calculation and injury for baseball and softball athletes at
     Clemson from harm to competition, there would still be no economic basis for extending
     that estimate to any other sport or school.

99. The fact that Clemson is adding new GIAs in baseball and softball is another example of
     economic evidence that benefits would flow to athletes from the proposed settlement: if the
     case proceeded to trial without settlement and GIA limits for baseball and softball teams
     continued to remain low, there may be no additional benefits at all flowing to baseball or
     softball athletes at Clemson, as compared to more than a million dollars a year that the
     Second Tatos Declaration estimates. With respect to damages, however, considerably more
                                                                                                   41
Case 4:20-cv-03919-CW         Document 717-2        Filed 03/03/25     Page 44 of 74




economic analysis would be required to establish this as economic evidence of antitrust
damage for any athletes who participated in any sport at any Division I school in previous
years.




                                                                                          42
Case 4:20-cv-03919-CW   Document 717-2   Filed 03/03/25   Page 45 of 74
Case 4:20-cv-03919-CW   Document 717-2   Filed 03/03/25   Page 46 of 74




              Appendix A
    Case 4:20-cv-03919-CW           Document 717-2            Filed 03/03/25      Page 47 of 74



                                  DANIEL A. RASCHER, PH.D.

EDUCATION

    B.A., Economics, University of California at San Diego.
    Ph.D., Economics, University of California at Berkeley.
    Dissertation Title, Organization and Outcomes: A Study of the Sports Industry
    Certified Valuation Analyst (CVA) by the National Association of Certified Valuators and Analysts


PRESENT POSITIONS

    University of San Francisco
     Director of Academic Programs for the Sport Management Program, 2002-current
      Professor of Sport Management, 2010-current
      Associate Professor of Sport Management, 2005-2010
      Assistant Professor of Sport Management, 2000-2005
      Adjunct Professor of Sport Management, 1999-2000
          M.A. Course – Sport Economics and Finance
          M.A. Course – Master’s Project in Sport Management
          M.A. Course – Sport Business Research Methods
    SportsEconomics, LLC (www.sportseconomics.com)
     Founder and President, 1998-current
         Performed economic analysis for sports industry clients including multiple projects involving
         the NFL, NBA, NASCAR, NCAA, NHRA, NHL, MLS, ATP, AHL, professional cycling,
         media companies, sports commissions and government agencies, event management, B2B
         enterprises, and IHRSA. Specialized in industrial organization, antitrust, valuations, market
         research, labor issues, financial modeling, strategy, economic impact, and feasibility research.
    OSKR, LLC (www.oskr.com)
     Co-Founder and Partner, 2008-current
         Performed economic analysis for clients involved in sports and other industries, including
         insurance, technology, automotive, television, and consumer products.


PREVIOUS ACADEMIC EXPERIENCE

    STANFORD UNIVERSITY, taught franchise relocation & stadium financing course, Summer 2020
    NORTHWESTERN UNIVERSITY, taught sports economics and finance course, Winter 2014
    IE BUSINESS SCHOOL (Madrid, Spain), taught sports economics and finance course, 2010-2013
    UNIVERSITY OF MASSACHUSETTS AT AMHERST, Sport Management Department
    Assistant Professor, 1997-1998
         * M.S. Courses—Principles of Sport Business Management, Applied Sport Business
           Management
         * B.S. Courses—Sport Business Finance, Sports Economics
    Case 4:20-cv-03919-CW           Document 717-2          Filed 03/03/25       Page 48 of 74




    UNIVERSITY OF CALIFORNIA AT BERKELEY, Department of Economics
    Teaching Assistant
         * Economic Principles & Intermediate Microeconomics.
    Institute of Sports Law and Ethics (University of the Pacific). Board Member, 2011-2017

PREVIOUS CONSULTING EXPERIENCE

    LECG, LLC
     Affiliate, 2003-2007; Principal, 2000-2003; Senior Economist, 1998-2000
         * Performed economic analysis for sports industry clients including multiple projects
           involving the NFL, MLB, NBA, NHL, PGA, Formula One racing, CART, and Premier
           League Football (soccer). Specialized in industrial organization, antitrust, M&As,
           valuations, and damages analysis.
         * Provided testimony for cases involving sports industry clients, including damages analysis
           and liability.
         * 40% of work related to antitrust litigation, 20% IP and breach of contract damages
           litigation, 20% merger related, and 20% management consulting.
         * 60% of work involved the sports and entertainment industries, 15% involved technology,
           and 25% in other industries including agriculture, transportation, and energy.
    UNIVERSITY OF CALIFORNIA AT BERKELEY, Competitive Semiconductor Manufacturing
    Program
    Visiting Scholar, Institute of Industrial Relations, 1998-2000
    Research Fellow, 1995-1997
         * Funded by the Alfred P. Sloan Foundation, the CSM study is an interdisciplinary project
           that analyzes the determinants of high performance in semiconductor manufacturing.
         * Research on HR, training, small sample analyses and generalizability of case study results.
    NATIONAL ECONOMIC RESEARCH ASSOCIATES, Summer 1994; January-August 1995
    Research Assistant
         * Research on the energy industry, on transmission pricing, and on the economic damages of
           contract breaches.
    QUANTUM CONSULTING, 1992-1994
    Research Assistant
         * Developed a model and a software package using spline techniques to weather-normalize
           energy usage, allowing the PUC to evaluate regulation policies.


HONORS AND AWARDS

    Sonny Vaccaro Impact Award (College Sport Research Institute, Univ. of South Carolina), 2023
    Outstanding Antitrust Litigation Achievement in Economics (American Antitrust Institute), 2021
    Lifetime Achievement Award (Applied Sport Management Association), 2019
    Research Fellow of the North American Society for Sport Management, 2009




                                                                                                         2
   Case 4:20-cv-03919-CW            Document 717-2         Filed 03/03/25       Page 49 of 74



    College of Arts & Sciences Collective Achievement Award, 2009
    Innovation Award Winner (for the innovative use of technology in teaching), 2004. From the
    Center for Instruction and Technology, University of San Francisco.
    Research Grant for the Study of Human Resource Systems (Alfred P. Sloan Foundation), 1995-
    1997.
    Newton-Booth Fellowship for graduate study at University of California at Berkeley, 1990-1991.

PEER-REVIEWED JOURNAL ARTICLES

    “Who Are Our Fans: An Application of Principal Component-Cluster Technique Analysis to
    Market Segmentation of College Football Fans,” with Kenneth Cortsen, Mark Nagel, and Tiffany
    Richardson. Journal of Applied Sport Management, 13(1), 2021.

    “Economic Development Effects of Major and Minor League Teams and Stadia,” with Nola Agha.
    Journal of Sports Economics, 21(1), 2020.

    “Is there a Consensus?: An Experimental Trial to Test the Sufficiency of Methodologies Used to
    Measure Economic Impact,” with Giseob Hyun and Mark Nagel. Journal of Applied Business and
    Economics, 22(11), 2020.

    “Coaching Salary Disparity and Team Performance: Evidence from the Football Bowl
    Subdivision,” with Alex Traugutt, Alan Morse, and Brian Fowler. Journal of Applied Business and
    Economics, 22(1), 2020.

    “Cartel Behavior in US College Sports: An Analysis of NCAA Football Enforcement Actions from
    1990-2011,” with Mark Nagel, Richard Southall, and Nick Fulton. Journal of NCAA Compliance,
    July-August, 2019.

    “The Unique Economic Aspects of Sports,” with Joel Maxcy and Andrew D. Schwarz. Journal of
    Global Sport Management (July, 2019).

    “Making a Difference: Bridging the Gap Between the Ivory Tower & the Community.” Journal of
    Applied Sport Management, 11(2), 2019.

    “Because It’s Worth It: Why Schools Violate NCAA Rules and the Impact of Getting Caught in
    Division I Basketball,” with Andrey Tselikov, Andrew D. Schwarz, and Mark Nagel. Journal of
    Issues in Intercollegiate Athletics, 12, 2019. Article of the year in the publication for 2019.

    “Determining fair market value for Duke’s Sporting Goods Store,” with Michael Goldman. In
    Case Studies in Sport Management, 6(1), 2017.

    “The Beckham Effect: Examining the Longitudinal Impact of a Star Performer on League
    Marketing, Novelty, and Scarcity,” with Stephen Shapiro and Tim DeSchriver. In European Sport
    Marketing Quarterly, 17(5), 2017.

    “What Drives Endorsement Earnings for Superstar Athletes?” with Terence Eddy and Giseob
    Hyun. In Journal of Applied Sport Management, Vol. 9, No. 2, Summer 2017.




                                                                                                      3
Case 4:20-cv-03919-CW           Document 717-2          Filed 03/03/25       Page 50 of 74



“A Smaller Window to the University: The Impact of Athletic De-Escalation on Status and
Reputation,” with Michael Hutchinson and Kimi Jennings. In Journal of Intercollegiate Sport, Vol.
9, No. 1, June 2016.

“If We Build It, Will They Come?: Examining the Effect of Expansion Teams and Soccer-Specific
Stadiums on Major League Soccer Attendance,” with Steve Shapiro and Tim DeSchriver. In Sport,
Business, and Management: An International Journal, Vol. 6, No. 2, Spring 2016.

“An Explanation of Economic Impact: Why Positive Impacts Can Exist for Smaller Sports,” with
Nola Agha. In Sport, Business, and Management: An International Journal, Vol. 6, No. 2, Spring
2016.

“Where is Everyone? An Examination of Attendance at College Football Bowl Games,” with
Terence Eddy. In International Journal of Sport Finance, Vol. 11, No. 2, February 2016.

“Tracking the Dollars: How Economic Impact Studies can Actually Benefit Managerial Decision
Making,” with Michael Goldman. In Sport & Entertainment Review, Vol 1, No. 1, February 2015.

“Sport Pricing Research: Past, Present, and Future,” with Joris Drayer. In Sport Marketing
Quarterly, Vol. 22, No. 3, September 2013.

“The Antitrust Implications of “Paperless Ticketing” on Secondary Markets,” with Andrew D.
Schwarz. In Journal of Competition Law and Economics, Vol. 9, No. 3, 2013.

“An Examination of Underlying Consumer Demand and Sport Pricing Using Secondary Market
Data” with Joris Drayer and Chad McEvoy. In Sport Management Review, Vol. 15, No. 4,
November 2012.

“Smooth Operators: Recent Collective Bargaining in Major League Baseball” with Tim
DeSchriver, 2012. In International Journal of Sport Finance, 7(2).

“Financial Risk Management: The Role of a New Stadium in Minimizing the Variation in
Franchise Revenues” with Matt Brown, Mark Nagel, and Chad McEvoy. In Journal of Sports
Economics, Vol. 13, No. 3, August 2012.

“Factors Affecting the Price of Luxury Suites in Major North American Sports Facilities” with Tim
DeSchriver and Steve Shapiro. In Journal of Sport Management, Vol. 26, No. 3, May 2012.

“Free Ride, Take it Easy: An Empirical Analysis of Adverse Incentives Caused by Revenue
Sharing” with Matthew Brown, Mark Nagel, and Chad McEvoy. In Journal of Sport Management,
Vol. 25, No. 5, September 2011.

“Simulation in Sport Finance,” with Joris Drayer. Simulation & Gaming: An Interdisciplinary
Journal of Theory, Practice, and Research Vol. 41, No. 2, April 2010.

“Where did National Hockey League Fans go During the 2004-2005 Lockout?: An Analysis of
Economic Competition Between Leagues,” with Matthew Brown, Mark Nagel, and Chad McEvoy.
In International Journal of Sport Management and Marketing, Vol. 5, Nos. 1, 2, January 2009.




                                                                                                 4
   Case 4:20-cv-03919-CW            Document 717-2         Filed 03/03/25       Page 51 of 74



    “The Effects of Roster Turnover on Demand in the National Basketball Association,” with Steve
    Shapiro, Alan Morse, and Chad McEvoy. In International Journal of Sport Finance, Vol. 3, No. 1,
    February 2008.

    “Variable Ticket Pricing in Major League Baseball” with Chad McEvoy, Mark Nagel, and Matthew
    Brown. In Journal of Sport Management, Vol. 21, No. 3, July 2007.

    “Do Fans Want Close Contests?: A Test of the Uncertainty of Outcome Hypothesis in the National
    Basketball Association” with John Paul Solmes. In International Journal of Sport Finance, Vol. 3,
    No. 2, August 2007.

    “The Use of Simulation Technology in Sport Finance Courses: The Case of the Oakland A’s
    Baseball Business Simulator” with Joris Drayer. In Sport Management Education Journal Vol. 1,
    No. 1, May 2007.

    “Washington “Redskins” – Disparaging Term or Valuable Tradition?: Legal and Economic Issues
    Concerning Harjo v. Pro-Football, Inc.” with Mark Nagel. In Fordham Intellectual Property,
    Media, and Entertainment Law Journal, Vol. XVII, No. 3, Spring 2007.

    “Treatment of Travel Expenses by Golf Course Patrons: Sunk or Bundled Costs and the First and
    Third Laws of Demand,” with Matthew Brown, Chad McEvoy, and Mark Nagel. In International
    Journal of Sport Finance, Vol. 2, No. 1, February 2007.

    “Major League Baseball Anti-Trust Immunity: Examining the Legal and Financial Implications of
    Relocation Rules” with Mark Nagel, Matthew Brown, and Chad McEvoy. In Entertainment and
    Sports Law Journal, Vol. 4, No. 3, December 2006.

    “The Use of Public Funds for Private Benefit: An Examination of the Relationship between Public
    Stadium Funding and Ticket Prices in the National Football League” with Matthew Brown and
    Wesley Ward. In International Journal of Sport Finance, Vol. 1, No. 2, June 2006.

    “An Analysis of Expansion and Relocation Sites for Major League Soccer” with Matthew Baehr,
    Jason Wolfe, and Steven Frohwerk. In International Journal of Sport Management, Vol. 7, No. 1,
    January 2006.

    “Revenue and Wealth Maximization in the National Football League: The Impact of Stadia” with
    Matthew Brown, Mark Nagel, and Chad McEvoy. In Sport Marketing Quarterly, Vol. 13, No. 4,
    December 2004.

    “NBA Expansion and Relocation: A Viability Study of Various Cities” with Heather Rascher. In
    Journal of Sport Management, Vol. 18, No. 3, July 2004.

    “Does Bat Day Make Cents?: The Effect of Promotions on the Demand for Baseball,” with Mark
    McDonald. In Journal of Sport Management, Vol. 14, No. 1, January 2000.

    “The NBA, Exit Discrimination, and Career Earnings,” with Ha Hoang. In Industrial Relations,
    Vol. 38, No. 1, January 1999.

BOOKS

    “Handbook of Sport Finance” with Mark Nagel. Edward Elgar Publishing. (forthcoming).




                                                                                                      5
   Case 4:20-cv-03919-CW            Document 717-2         Filed 03/03/25      Page 52 of 74




    “Financial Management in the Sport Industry” 4th ed. with Matthew Brown, Mark Nagel, and Chad
    McEvoy. Routledge, Inc., (forthcoming). A textbook.

    “Financial Management in the Sport Industry” 3rd ed. with Matthew Brown, Mark Nagel, and Chad
    McEvoy. Routledge, Inc., 2021. A textbook.

    “Financial Management in the Sport Industry” 2nd ed. with Matthew Brown, Mark Nagel, and Chad
    McEvoy. Routledge, Inc., 2015. A textbook.

    “Financial Management in the Sport Industry” with Matthew Brown, Mark Nagel, and Chad
    McEvoy. Holcomb Hathaway, Inc., June 2010. A textbook.

BOOK CHAPTERS

    “Sporting Goods and Sports Licensing,” with Mark Nagel in The Governance of Sports, edited by
    Bonnie Tiell for Human Kinetics, (2024 – 2nd ed., 2020 – 1st ed.).

    “The Relevance of a Gamified Football/Soccer Development Platform,” with Kenneth Cortsen in
    Interactive Sports Technologies: Performance, Participation, Safety, edited by Michael Filimowicz
    and Veronika Tzankova for Routledge (2022).

    “The application of sports technology and sports data for commercial purposes,” with Kenneth
    Cortsen in The Use of Technology in Sport – Emerging Challenges, (2018).

    “Valuing Highly Profitable Sports Franchises – A Hybrid Income and Market Approach,” in Sports
    Business edited by Kenneth Cortsen (forthcoming).

    “The Use of Price-to-Revenue Ratios in Valuing Sports Franchises,” in Sports Business edited by
    Kenneth Cortsen (forthcoming).

    “Competitive Equity: Can there be Balance between Athletes’ Rights and a Level Playing Field?”
    with Andrew D. Schwarz in E. Comeaux (ed.), College Athletes’ Rights and Well-Being: Critical
    Perspectives on Policy and Practice. Baltimore: Johns Hopkins University Press, (2017).

    “Illustrations of Price Discrimination in Baseball” with Andrew D. Schwarz in L. Kahane and S.
    Shmanske eds., Economics Through Sports, Oxford: Oxford University Press, (2012).

    “The Expanding Global Consumer Market for American Sports: The World Baseball Classic” with
    Mark Nagel, Chad McEvoy, and Matt Brown in G. Mildner, and C. Santo, eds., Sport and Public
    Policy, Champaign, IL: Human Kinetics, 2010.

    “Franchise Relocations, Expansions, and Mergers in Professional Sports Leagues.” In B.
    Humphreys, and D. Howard, eds., The Business of Sports, pp. 67-106. Westport, CT: Praeger,
    2008.

    “Collective Bargaining in Sport” with M. Nagel, M. Brown, and C. McEvoy. In Encyclopedia of
    World Sport, pp.335-339. Great Barrington, MA: Berkshire Publishing, 2005.




                                                                                                      6
   Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 53 of 74



    “The Role of Stadia in the USA: Wealth Maximization in the National Football League” with
    Matthew Brown and Mark Nagel in G. Trosien & M. Dinkel (eds.), Grenzen Des Sportkonsums
    (Frontiers of Sport Commerce), Heidelberg, Germany: SRH Learnlife AG, 2003.

    “A Test of the Optimal Positive Production Network Externality in Major League Baseball,” in E.
    Gustafson and L. Hadley, eds., Sports Economics: Current Research, 1999. Praeger Press.

    “A Model of a Professional Sports League,” in W. Hendricks (ed.), Advances in the Economics of
    Sport, vol. 2. June 1997, JAI Press, Inc.

BOOK REVIEWS

    “Review of: Much More Than a Game: Players, Owners, and American Baseball Since 1921”, by
    Robert F. Burk in Journal of Economic Literature, Vol. 40(3), September 2002, pp. 949-951.

NON-PEER REVIEWED ARTICLES

    “Special Issue Introduction: Name, Image, and Likeness and the National Collegiate Athletic
    Association,” with Steven Salaga, Natasha Brison, Joseph Cooper, and Andy Schwarz in Journal of
    Sport Management, 2023.

    “Data Science for Football Business – Clustering Analysis,” with Kenneth Cortsen and Bas
    Schnater in FCBusiness, 132, April 2021.

    “Competitive Balance in Sports: “Peculiar Economics” over the last Thirty Years,” with Andrew D.
    Schwarz. In Competition, 29(2), Fall 2019.

    “How The $200+ Million Settlement For COA Payments Was Calculated,” with Andrew D.
    Schwarz. In Athletic Director U., May 2017.

    “Rich Men’s Toys – Applying Valuation Methods to the Business of Professional Sports” in
    Valuation Strategies, March/April 2015.

    “Competitive Balance in Sports: “Peculiar Economics” Over the Last Quarter Century,” with
    Andrew. D. Schwarz. In Entertainment, Arts, and Sports Law Journal, 24(1), Spring 2013.

    “The Impact on Demand from Winning in College Football and Basketball: Are College Athletes
    More Valuable than Professional Athletes?” with Chad McEvoy. In Selected Proceedings of the
    Santa Clara University Sports Law Symposium, September 2012.

    “The Economics of Competitive Balance on the Field and in the Courts” in Selected Proceedings of
    the Santa Clara University Sports Law Symposium, 2011.

    “5 Themes from 50 Economic Impact Studies” in SportsEconomics Perspectives, Issue 5, 2010.

    “What is the Value of Control of a Sports Enterprise?: Controlling Interest Premiums in Sports
    Valuations” in SportsEconomics Perspectives, Issue 4, April 2008.

    “Executive Interview: Charlie Faas, Executive Vice President and CFO of Silicon Valley Sports
    and Entertainment.” in International Journal of Sport Finance, Vol. 2, No. 2, June 2007.




                                                                                                      7
    Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 54 of 74



    “Executive Interview: Dan Champeau, Managing Director, and Chad Lewis, Analyst with Fitch.” in
    International Journal of Sport Finance, Vol. 2, No. 1, February 2007.

    “Executive Interview: Dennis Wilcox, Principal with Climaco, Lefkowitz, Peca, Wilcox & Garofoli
    Co., L.P.A.” in International Journal of Sport Finance, Vol. 1, No. 4, November 2006.

    “Executive Interview: Randy Vataha, Founder of Game Plan, LLC” with Dennis Howard in
    International Journal of Sport Finance, Vol. 1, No. 2, June 2006.

    “Executive Interview: Mitchell H. Ziets, President and CEO of MZ Sports, LLC” in International
    Journal of Sport Finance, Vol. 1, No. 1, February 2006.

    “The Oakland Baseball Simworld: Enabling Students to Simulate the Management of a Baseball
    Organization” in Journal of Sports Economics, Vol. 6, No. 3, August 2005.

    “Examining the Viability of Various Cities for NBA Expansion or Relocation” with Heather
    Rascher in SportsEconomics Perspectives, Issue 2, April 2002.

    “Following a Dollar: the economic impact of a sports event is greater than the sum of its parts” by
    Nola Agha in SportsTravel Magazine, Vol. 6, No. 10, November/December 2002. Heather Rascher
    and Daniel Rascher contributed to the article.

    “Real Impact: understanding the basics of economic impact generated by sports events” in
    SportsTravel Magazine, Vol. 6, No. 7, July/August 2002. Reprinted in four regional sports
    commission newsletters.

    “What is the Size of the Sports Industry?,” in SportsEconomics Perspectives, Issue 1, August 2001.

    “Neither Reasonable nor Necessary: “Amateurism” in Big-Time College Sports”, with Andrew D.
    Schwarz. In Antitrust (Spring 2000 Special Sports Issue).

    “What Brings Fans to the Ballpark?,” with Nola Agha in FoxSportsBiz.com, Spring 2000.

RE-PUBLICATIONS

    Republication of “Competitive Balance in Sports: “Peculiar Economics” over the last Thirty
    Years,” with Andrew D. Schwarz. In Entertainment and Sports Law Journal, 31(1), Winter 2020.

    Republication of “Do Fans Want Close Contests? A Test of the Uncertainty of Outcome Hypothesis
    in the National Basketball Association”, with John Paul G. Solmes in Recent Developments in the
    Economics of Sport, ed. Wladimir Andreff; The International Library of Critical Writings in
    Economics, 2011, Sudbury, MA: Jones & Bartlett.

    Republication of “Variable Ticket Pricing in Major League Baseball”, with Chad McEvoy, Mark
    Nagel, and Matthew Brown The Business of Sports, ed. Scott Rosner and Kenneth Shropshire,
    2011, Elgar Pub., United Kingdom.

    Republication of “What Brings Fans to the Ballpark?,” with Nola Agha in Brilliant Results 2005.

    Republication of “What is the Size of the Sports Industry?,” in Brilliant Results 2005.




                                                                                                      8
   Case 4:20-cv-03919-CW            Document 717-2         Filed 03/03/25       Page 55 of 74



    Republication of “Neither Reasonable nor Necessary: “Amateurism” in Big-Time College Sports”,
    with Andrew D. Schwarz in The Economics of Sport, Vol. I, ed. Andrew Zimbalist; The
    International Library of Critical Writings in Economics 135, 2001, Elgar, Northampton, MA.

MONOGRAPHS

    “The Effect of Human Resource Systems on Fab Performance,” with Clair Brown, in C. Brown
    (ed.), The Competitive Semiconductor Manufacturing Human Resources Project: Final Report,
    1997.

    “Inter-industry Comparisons: Lessons from the Semiconductor Industry,” with Rene Kamita, in C.
    Brown (ed.), The Competitive Semiconductor Manufacturing Human Resources Project: Final
    Report, 1997.

    “Problem-Solving Structures; A Case Study of Two U.S. Semiconductor Fabs,” in C. Brown (ed.),
    The Competitive Semiconductor Manufacturing Human Resources Project: Final Report, 1997.

    “Transferability of Case Study Research: An Example from the Semiconductor Industry,” with
    Clair Brown, in C. Brown (ed.), The Competitive Semiconductor Manufacturing Human Resources
    Project: 2nd Interim Report, 1996.

    “Headcount and Turnover,” in C. Brown (ed.), The Competitive Semiconductor Manufacturing
    Human Resources Project: 2nd Interim Report, 1996.

    “Training,” with Jumbi Edulbehram in C. Brown (ed.), The Competitive Semiconductor
    Manufacturing Human Resources Project: 2nd Interim Report, 1996.

WORKING PAPERS & ARTICLES UNDER REVIEW

    “The Impact of COVID-19 on Employment and Output in the Leisure and Tourism Industries,”
    with Lali Odosashvili and Mark Nagel. In Review. 2023.

    “Commentary: Maximizing the Emergency Use of Public Stadiums and Arenas,” with Mark Nagel
    and Tiffany Richardson. 2021.

    “College Football and Basketball Fans Don’t Root for Laundry: A Comparison of the Effect of
    Winning on Demand between College and Professional Football and Basketball,” with Mark Nagel
    and Giseob Hyun. 2020.

    “Optimal Markets for NFL Franchises.” 2020.

    “Would the Oakland A's Relocation to San Jose Harm the Sharks – A Case Study of Competition
    Across Professional Sports Teams” with Chad McEvoy, Matt Brown, and Mark Nagel. 2016.

    “The Practical Use of Variable Ticket Pricing in Major League Baseball” with Chad McEvoy, Matt
    Brown, and Mark Nagel. 2012.

    “An Analysis and Assessment of Intercollegiate Athletics at the University of San Francisco” with
    Jeremy Howell. 2011.




                                                                                                        9
   Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 56 of 74



    “Counting Local Residents in Economic Impact Analysis: New Findings from Sporting Events”
    with Richard Irwin. 2008.

    “Perverse Incentives with the NCAA Basketball Tournament Seeding Process” with Matthew
    Brown, Chad McEvoy, and Mark Nagel. 2006.

    “Do the Giants Compete with the A’s: The Degree of Competition Between Teams” with Matthew
    Brown, Chad McEvoy and Mark Nagel. 2006.

    “Forecasting Model of Airport Economic Impacts” with Alan Rozzi and Christopher Gillis. 2004.

    “Psychic Impact of Professional Sports: A Case Study of a City Without Major Professional
    Sports” with Matthew Brown, Mark Nagel, and Chad McEvoy. 2003.

    “The Use of New Technology and Human Resource Systems in Improving Semiconductor
    Manufacturing Performance”, with Clair Brown and Greg Pinnsoneault, Working Paper, University
    of California at Berkeley, 1999.

INVITED SPEAKING ENGAGEMENTS

    “The Economics of Name, Image, and Likeness in College Sports,” guest speaking in Sports
    Journalism, San Jose State University, 2025.

    “Financial Management in the Sport Industry,” guest speaking in Sports Economics, Loyola
    Marymount University, 2025.

    “Going Local,” panelist at Going Beyond the Game symposium, hosted by SEVN Sports &
    Entertainment. Oakland. 2025.

    “Good Morning Walnut Creek: The Economics of Sports,” fireside chat with Visit Walnut Creek,
    2024.

    “Conversations on NIL Complexities,” panelist, Name, Image, and Likeness Conference,
    University of San Francisco Law School, 2024.

    “The Unique Aspects of the Business of Sports,” guest speaking at Hult International Business
    School, 2024.

    “Developments in Private Antitrust Enforcement in Sports,” panelist, American Antitrust Institute
    Annual Private Enforcement Conference, 2024.

    “The Sports Economics Behind the Massive NCAA and NFL Lawsuits,” invited on the Sports Wise
    podcast (hosted by Gabe Feldman, Director of the Tulane Sports Law Program), 2024.

    “Antitrust Issues in Sports,” panelist, Antitrust and Unfair Competition Law conference hosted by
    the California Lawyers Association, 2024.

    “Financial Management in the Sport Industry,” guest speaking in Sports Economics, Loyola
    Marymount University, 2024.

    “Sports & Entertainment Districts,” panelist, San Jose Chamber of Commerce, 2024.




                                                                                                    10
Case 4:20-cv-03919-CW           Document 717-2          Filed 03/03/25       Page 57 of 74




“Getting into the Sports Industry,” panelist, The Young Sports Talent Investment Forum, 2023.

“The Business of Sports.” Lecture at the Oregon Law Summer Sports Institute, University of
Oregon, 2023.

“Economics of College Sports,” guest speaking in Intercollegiate Sports Management, St. Mary’s
College, 2023.

“Economics of College Sports,” guest speaking in Sports Finance, University of Delaware, 2023.

“Financial Management in the Sport Industry,” invited masterclass presentation for Sportin Global,
2023.

“Legal and Economic Issues in the NCAA: A Review of 20 Years of Litigation,” with Andy
Schwarz and Mark Nagel, University of South Carolina, College Sport Research Institute, 2023.

“The Business of Intercollegiate Sports,” invited guest speaker in Andy Dolich’s Make Sense of the
Madness course on college sports, Stanford University, 2023.

“An Economist Goes to the Game,” invited co-host for New Books Network podcast, 2022.

“The Business of Sports.” Lecture at the Oregon Law Summer Sports Institute, University of
Oregon, 2022.

“Big Stakes Antitrust Trial: In Re National Collegiate Athletic Association Athletic Grant-in-Aid
Cap Antitrust Litigation,” panelist at the 31st Golden State Institute Conference (2021).

“Economics of College Sports,” guest speaking in Sports Finance, University of Delaware, 2021.

“The Business of Intercollegiate Sports,” guest speaking in Issues in Sports Economics, University
of West Florida, 2021.

“Professional Sports Franchise Location & Development.” Guest speaker in Sports Law & Ethics
course at California Lutheran University. 2021.

“The Business of Sports.” Guest speaker at Sport Administration course, University of Louisville,
2021.

“The Business of Sports.” Lecture at the Oregon Law Summer Sports Institute, University of
Oregon, 2021.

“Sports Economics, Analytics, and Decision Making - 7 Case Studies,” Theme Speaker 1,
International Webinar on Sports Management, hosted by Sports Authority of India, Seshadripuram
Educational Trust, Seshadripuram Evening Degree College, 2021.

“Economics of College Athletes,” guest speaking in Sports Finance, University of Northern
Colorado, 2021.

“Sports Antitrust Economics – Raiders & Regents,” with Andy Schwarz in Sports Law, University
of San Diego Law School, February, 2021.




                                                                                                    11
Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25      Page 58 of 74




“Research Thoughts & Methods” in Doctoral Research Seminar, Sport Management Department,
University of South Carolina, January, 2021.

“Is there a Consensus?: An Experimental Trial to Test the Sufficiency of Methodologies Used to
Measure Economic Impact in Sports.” Keynote Speaker at the 1st International Congress of Iranian
Scientific Association of Sport Management, Tehran, Iran in March, 2021.

“Government Impact on Financial Aspects of Sports,” at the International Conference on
Governance and Integrity in Sport, Saudi Arabia, December, 2020.

“State of Play: Antitrust and the NCAA,” panelist on a program hosted by the New York State Bar
Association and the California Lawyers Association, November 19, 2020.

“Sports Commercialization and the Global Sports Economy” with Kenneth Cortsen. Masterclass
for Australian Sports Technologies Network, November 17, 2020.

“Economic and Financial Management of U.S. Professional Sports” presented at Loyola University,
Seville, Spain, November 12, 2020.

“The Importance of Sound Data Analysis for Decision-Making in the Sports Industry” at Sportin
Global Summit. 2020.

“The New Normal of the Sport Industry” at HiVE 24HR Liveathon. 2020.

“Play Time Sessions – A Series of Digital Conference Sessions on Gaming & Esports” presented
by GIMA Esports. 2020.

“Practicing as a Sports Lawyer: Antitrust and Beyond.” Sponsored by the American Bar
Association’s Section of Antitrust Law and Trade, Sports and Professional Associations. 2020.

“Economics of Sports.” Lecture at the Oregon Law Summer Sports Institute, University of Oregon,
2020.

“Economics of College Sports,” guest speaking in Sports Finance, University of Delaware, 2020.

“Economics of College Athletes,” guest speaking in Sports Finance, University of Northern
Colorado, 2020.

“Stadium Financing,” guest speaking in Introduction to Sports Business, UCLA’s Anderson School
of Business, 2019.

“Economics of College Sports,” discussion at the Oregon Law Summer Sports Institute, University
of Oregon, 2019.

“Forging Industry Partnerships and Engaging in Applied Sport Management Research,” with
Weight, E., Love, A., McEvoy, C. Presentation for the Applied Sport Management Conference,
2019.

“Making a Difference: Bridging the Gap Between the Ivory Tower & the Community.” Keynote
Address, Applied Sport Management Association, 2019.




                                                                                                 12
Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 59 of 74




“Economics of Sports.” Lectures at the Oregon Law Summer Sports Institute, University of
Oregon, 2018.

“The Business of Sports”, presented at the Sports Business Club at Sonoma State University
Business School, May 2018.

“The Business of the Olympics,” guest speaker in sports journalism course at Medill School of
Journalism at Northwestern University, 2018.

“Economics of Sports.” Lectures at the Oregon Law Summer Sports Institute, University of
Oregon, 2017.

“College-Sport Research and Litigation: Theory and Practice Leading to Action.” Panelist at
College Sport Research Institute Symposium at the University of South Carolina, 2017.

“Economics of Sports.” Lectures at the Oregon Law Summer Sports Institute, University of
Oregon, 2016.

“The Business of Intercollegiate Sports,” presented in the sport management department’s sport law
course, University of Toronto, 2016.

“Economics of Sports.” Lectures at the Oregon Law Summer Sports Institute, University of
Oregon, 2015.

“The Business of Intercollegiate Sports” presented in the sport management masters program,
University of Arkansas, 2015.

Panelist on “The Future of Intercollegiate Athletics: The Players’ Perspective,” at the Sports Law
and Business Conference at Arizona State University, 2015.

Panelist on “Intersection of Business and Sports Law,” at the Sports and Entertainment Law Forum,
presented by the University of Oregon Law School, 2015.

“The Economics of College Athletics Departments” presented in the masters in collegiate athletics
program, college athletics in a digital era course, University of San Francisco, 2015.

“The Business of Intercollegiate Sports,” presented in the sport management department’s sport law
course, University of Toronto, 2014.

“Economics of Sports.” Lectures at the Oregon Law Summer Sports Institute, University of
Oregon, 2014.

“The Finances of College Sports,” presented in Matthew Brown’s sport finance course, Ohio
University, 2014.

“Antitrust Economics and Sports,” presented in Professor Robert Elias’s Politics and Sport course,
University of San Francisco, 2014.

“The Economics of the Sports Industry,” presented to the Haas School of Business, U.C. Berkeley,
2014.




                                                                                                     13
Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25       Page 60 of 74




“Economic Impact in Sports.” Presentation in the masters in sports business program at New York
University (NYU) as part of the Faculty-in-Residence program. 2013.

“Pricing the Game Experience,” with Stephen Shapiro and Tim DeSchriver. Invited research
presentation at Sport Entertainment & Venues Tomorrow conference, 2013, University of South
Carolina.

“Academia and the Industry: Opportunities for Meaningful Research Collaboration.” Invited
panelist at Sport Entertainment & Venues Tomorrow conference, 2013, University of South
Carolina.

“Sports Sponsorships in 2013,” Panelist at Court Vision (Sheppard Mullin Sports Law Speaker
Series and SLA). Continuing Legal Education (CLE) units program. 2013.

“Using Contract Law to Tackle the Coaching Carousel – Commentary.” Presented at University of
San Francisco, Sports & Entertainment Law Association, 2013.

“Sports Economics, Analytics, and Decision Making: 8 Examples.” Invited speaker at the IEG
Sports Analytics Innovation Summit, 2012

“ ‘Paperless Ticketing’ and its Impact on the Secondary Market: An Economic Analysis with
Antitrust Implications” with Andy Schwarz. Presented at U.C. Berkeley, Boalt Law School’s
Sports and Entertainment Law Society, 2011.

“Financial Valuation of Sports Assets,” presented at the Sport Management Today Video
Conference Series at the IE Business School, 2011

“Financial Valuation of Sports Assets,” presented to the Sport Management Department at the
University of Northern Denmark, 2011.

“Economic Impact in Sports,” presented to the Sport Management Department at the University of
Northern Denmark, 2011.

“The Economics of the Sports Industry,” presented to the Sports Business Association at U.C.
Irvine, 2011.

“Is Free Riding a Problem in Sports Leagues?: Adverse Incentives Caused by Revenue Sharing”
with Mark Nagel, Chad McEvoy, and Matt Brown. Presented at the Economics Lecture Series at
Sonoma State University Business School, April 2010.

“Economics for Antitrust Lawyers: Application to Class Certification” presented to Lieff Cabraser
Heimann & Bernstein for Continuing Legal Education (CLE) units. November 2009.

“Economics for Antitrust Lawyers: Market Structure and Economic Modeling” presented to Lieff
Cabraser Heimann & Bernstein for Continuing Legal Education (CLE) units. October 2009.

“Sports Stadium Financing in Today’s Economy” presented to the Rotary Club of San Jose, May
2009.




                                                                                                14
   Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 61 of 74



    “The Economic Impact of Liberty Bowl Memorial Stadium,” presented at the University of
    Memphis, Issues in College Sports lecture series (invited panelist), March 2007.

    “The Economics of the Sports Industry,” presented to the MBA Program at the Haas School of
    Business, U.C. Berkeley, January 2007.

    “Stadium Financing – Dallas Cowboys Case,” presented to the MBA Program at the Graduate
    School of Business, Stanford University, 2006.

    “Taking the Gown to Town: Research and Consulting for the Sport Industry.” Invited presentation
    at the Past President’s Workshop, North American Society for Sport Management, June 2006.

    “Various Topics in Sports Economics,” presented at the Wednesday Workshop on Economics
    Research, California State University, East Bay, 2005.

    “Stadium Financing – Dallas Cowboys Case,” presented to the MBA Program at the Graduate
    School of Business, Stanford University, 2005.

    “The Economics of the Sports Industry,” presented to the MBA Program at the Haas School of
    Business, U.C. Berkeley, 2005.

    “The Economic Impact of General Aviation Airports: An Econometric Model,” presented at Niche
    Ventures Spring Meeting, 2004.

    “The Economics of the Sports Industry,” presented to the MBA Program at the Haas School of
    Business, U.C. Berkeley, 2004.

    “Oral Testimony Regarding California State Senate Bill 193, Student Athletes’ Bill of Rights”.
    2003. Testimony to the California State Senate Subcommittee on Entertainment.

    “The Economics of the Sports Industry,” presented to the MBA Program at the Haas School of
    Business, U.C. Berkeley, 2003.

    “The Use of New Technology and Human Resource Systems in Improving Semiconductor
    Manufacturing Performance,” with Clair Brown and Greg Pinsonneault. Presented at The Wharton
    School, University of Pennsylvania, 1999.

CONFERENCE PRESENTATIONS

    “Is there a Consensus?: An Experimental Trial to Test the Sufficiency of Methodologies Used to
    Measure Economic Impact,” with Giseob Hyun and Mark Nagel. Presentation at Applied Sport
    Management Association, February 2020.

    “Is there a Consensus?: A Test of Methodologies Used to Measure Economic Impact,” with Giseob
    Hyun and Mark Nagel. Presentation at Applied Business and Entrepreneurship Association
    International, November 2019.

    “Because It’s Worth It: Why Schools Violate NCAA Rules and the Impact of Getting Caught in
    Division I Basketball,” with Andrey Tselikov, Andrew D. Schwarz, and Mark Nagel. Presentation
    at Applied Business and Entrepreneurship Association International, November 2018.




                                                                                                     15
Case 4:20-cv-03919-CW           Document 717-2          Filed 03/03/25       Page 62 of 74



“College Football and Basketball Fans Don’t Root for Laundry: A comparison of the effect of
winning on attendance and television viewership between big-time college football and basketball
and the NBA and NFL,” with Mark Nagel. Presentation at Applied Business and Entrepreneurship
Association International, November 2017. (voted Best Paper Award for session)

“Financial Valuation of a Sporting Goods Retail Store,” with Mark Nagel and Matthew Brown.
Poster presentation at North American Society for Sport Management, May 2016.

“Cartel Behavior in United States College Sports: An Analysis of National Collegiate Athletic
Association Football Enforcement Actions from 1990 to 2011,” with Mark Nagel, Richard
Southall, and Nick Fulton. Presented at Western Economics Association International, January
2016.

“The College Basketball Players’ Labor Market: Ex Ante versus Ex Post Valuations” with David
Berri and Robert Brown. Presented at Western Economics Association International, July 2015.

“What drives Endorsement Values for Superstar Athletes?” with Terry Eddy and Giseob Hyun.
Presented at Sport Management Association of Australia and New Zealand, November 2014.

“The Beckham Effect: David Beckham’s Impact on Major League Soccer, 2007-2012,” with
Stephen Shapiro and Tim DeSchriver. Presented at North American Society for Sport Management,
May 2014.

“Where is Everyone? An Examination of Consumer Demand for College Football Bowl Games,”
with Terry Eddy and Rebecca Stewart. Presented at Collegiate Sports Research Institute
conference, April 2014.

“If We Build It, Will You Come?: Examining the Effect of Expansion Teams and Soccer-Specific
Stadiums on Major League Soccer Attendance,” with Stephen Shapiro and Tim DeSchriver.
Presented at North American Society for Sport Management, May 2013.

“Should San Jose say ‘No Way’ to the Oakland A’s,” with Mark Nagel and Matt Brown. Presented
at North American Society for Sport Management, May 2013.

Panel member for “Financial Issues in Intercollegiate Sports.” Presented at the Santa Clara
University Sports Law Symposium, 2012.

“What's in a Name?: Does the Amount and Source of Public Financing Impact Team Names?” with
Nola Agha and Matt Brown. Presented at Western Economics Association International, July 2012.

“When Can Economic Impact be Positive? Twelve conditions that explain why smaller sports have
bigger impacts” with Nola Agha. Presented at Western Economics Association International, July
2012.

“Reflections on the MLB Collective Bargaining Agreement.” Part of a symposium on the
Economics of Labor-Management Relations in Sports Today at Western Economics Association
International, July 2012.

“The Economics of Competitive Balance on the Field and in the Courts.” Presented at the Santa
Clara University Sports Law Symposium, 2011.




                                                                                                16
Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 63 of 74



“ ‘Paperless Ticketing’ and its Impact on the Secondary Market: An Economic Analysis with
Antitrust Implications” with Andy Schwarz. Presented at International Association of Venue
Managers, July 2011.

“ ‘Paperless Ticketing’ and its Impact on the Secondary Market: An Economic Analysis with
Antitrust Implications” with Andy Schwarz. Presented at TicketSummit, July 2011.

“ ‘Paperless Ticketing’ and its Impact on the Secondary Market: An Economic Analysis with
Antitrust Implications” with Andy Schwarz. Presented at Western Economics Association
International, July 2011.

“Financial Risk Management: The Role of a New Stadium in Minimizing the Variation in
Franchise Revenues” with Matt Brown, Chad McEvoy, and Mark Nagel. Presented at Western
Economics Association International, July 2011.

“A Panel Study of Factors Affecting Attendance at Major League Soccer Contests: 2007-2010”
with Tim DeSchriver. Presented at the Sport Marketing Association IX conference in New Orleans,
October 2010.

“The NCAA and the Prisoner’s Dilemma”. Presented at the Sports Law Symposium at the
University of Santa Clara Law School, September 2010.

“Financial Risk Management: The Role of a New Stadium in Minimizing the Variation in
Franchise Revenues” with Matt Brown, Chad McEvoy, and Mark Nagel. Presented at North
American Society for Sport Management, May 2010.

“An Analysis of the Value of Intercollegiate Athletics to its University: Methods”. Presented at the
Scholarly Conference on College Sport, April 2010.

“Demand, Consumer Surplus, and Pricing Inefficiency in the NFL: A Case Study of the Secondary
Ticket Market Using StubHub” with Joris Drayer and Chad McEvoy. Presented at North American
Society for Sport Management, May 2009.

“Luxury Suite Pricing in North American Sports Facilities” with Tim DeSchriver. Presented at
North American Society for Sport Management, May 2009.

“A Smorgasbord of Lessons Learned from Economic Impact Studies” Presented at North
American Society for Sport Management, June 2008.

“Globalization and Sport Finance: What is True and What is Myth?” with Mark Nagel and Ross
Booth. Presented at the Sport Management Association of Australia and New Zealand, November
2007.

“Exploring the Myth that a Better Seed in the NCAA Men’s Basketball Tournament results in an ex
ante Higher Payout” with Mark Nagel, Matt Brown, and Chad McEvoy. Presented at the Sport
Management Association of Australia and New Zealand, November 2007.

“Oakland A’s Baseball Simulator” with Joris Drayer. Presented at North American Society for
Sport Management, June 2007.




                                                                                                  17
Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 64 of 74



“Teaching Sport Financial Management: A Symposium” with Timothy DeSchriver, Matthew
Brown, and Michael Mondello. Presented at North American Society for Sport Management, June
2007.

“The Economics of the Sports Industry,” presented to the MBA Program at the Haas School of
Business, U.C. Berkeley, January 2007.

“Practical Strategies for Variable Ticket Pricing in Professional Sports” with Chad McEvoy, Matt
Brown, and Mark Nagel. Presented at Sport Marketing Association IV, November 2006.

“Do the Giants Compete with the A’s: The Degree of Competition Between Teams”, presented at
Western Economic Association International, July 2006.

“Do the Giants Compete with the A’s: The Degree of Competition Between Teams”, presented at
North American Society for Sport Management, June 2006.

“Measuring Sponsorship Return on Investment: A Need for Quantitative Analysis” with Matt
Brown, Mark Nagel, and Chad McEvoy. Presented at Sport Marketing Association III, November
2005.

“The Use of Economic Impact Analysis for Marketing Purposes” with Dick Irwin and Matt Brown.
Presented at Sport Marketing Association III, November 2005.

“Is Free Riding a Problem in Sports Leagues?: Adverse Incentives Caused by Revenue Sharing”
with Mark Nagel, Chad McEvoy, and Matt Brown. Presented at Western Economic Association
International, July 2005.

“Public Funds for Private Benefit: Equity Issues in Sport Stadia Funding and the Question of Who
Really Pays,” with Matt Brown and Mark Nagel. Presented at North American Society for Sport
Management, June 2005.

“Is Free Riding a Problem in Sports Leagues?: Adverse Incentives Caused by Revenue Sharing”
with Mark Nagel, Chad McEvoy, and Matt Brown. Presented at North American Society for Sport
Management, June 2005.

“Is Free Riding a Problem in Sports Leagues?: Adverse Incentives Caused by Revenue Sharing”
with Mark Nagel, Chad McEvoy, and Matt Brown. Accepted by Sport Management Association of
Australia and New Zealand, Nov. 2004.

“Redskins: Legal, Financial, and Policy Issues relative to Harjo v. Pro-Football, Inc.” with Richard
Southall, Matt Brown, and Mark Nagel. Presented at North American Society for the Sociology of
Sport, Nov. 2004.

“An Analysis of Distance Traveled and Tourism Economic Impact: A Test of the Alchian-Allen
Theorem” with Matt Brown, Mark Nagel, and Chad McEvoy. Presented at Sport Marketing
Association II conference, Nov. 2004.

“Is Free Riding a Problem in Sports Leagues?: Adverse Incentives Caused by Revenue Sharing”
with Mark Nagel, Chad McEvoy, and Matt Brown. Presented at Sport Marketing Association II
conference, Nov. 2004.




                                                                                                   18
Case 4:20-cv-03919-CW            Document 717-2          Filed 03/03/25       Page 65 of 74



“Beyond The Economic Impact Study: Examining Economic Impact Data for Support of the Third
Law of Demand” with Matthew Brown, Mark Nagel, and Chad McEvoy. Presented at North
American Society for Sport Management, 2004.

“Optimal Variable Ticket Pricing in Major League Baseball” with Mark Nagel, Chad McEvoy, and
Matthew Brown. Presented at North American Society for Sport Management, 2004.

“Clarett v. NFL: Age Eligibility Rules and Antitrust Law in Professional Sports” with Chad
McEvoy, Mark Nagel, and Matt Brown. Presented at Sport and Recreation Law Association, 2004.

“Variable Pricing in Baseball: Or, What Economists Would Just Call ‘Pricing’,” presented at
Western Economic Association International, 2003.

“The Impact of Stadia on Wealth Maximization in the National Football League: To Build or
Renovate?” with Matthew Brown, Mark Nagel, and Chad McEvoy. Presented at North American
Society for Sport Management, 2003.

“Major League Baseball’s Antitrust Immunity: Examining the Financial Implications of Relocation
Rules,” with Matthew Brown and Mark Nagel. Presented at Society for the Study of the Legal
Aspects of Sport and Physical Activity, 2003.

“Locational Choice in the NBA: An Examination of Potential Cities for Expansion or Relocation,”
presented at North American Society for Sport Management, 2002.

Panel discussant on the effects of the economy on the business of sports at Sports Facilities and
Franchises Forum, Dallas, TX 2002 (presented by SportsBusiness Journal).

“Psychic Impact Findings in Sports,” presented at Sport Management Association of Australia and
New Zealand, 2001.

“Locational Choice in the NBA: An Examination of Potential Cities for Expansion or Relocation”
presented at Sport Management Association of Australia and New Zealand, 2001.

“Psychic Impact as a Decision Making Criterion,” presented at the North American Society for
Sport Management, 2000.

“Economic Impact Methods,” presented at the North American Society for Sport Management,
2000.

“Valuation of Naming Rights,” presented at the Sports Finance Forum, 2000.

“ ‘Amateurism’ in Big-Time College Sports,” presented at the Western Economic Association
International, 1999.

“Does Bat Day Make Cents?: The Effect of Promotions on the Demand for Baseball,” with Mark
McDonald. Presented at the 17th Annual Consumer Psychology Conference, 1998.

“A Test of the Optimal Positive Production Network Externality in Major League Baseball,”
presented at the North American Society for Sport Management Conference, 1998.




                                                                                                    19
    Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25       Page 66 of 74



    “A Test of the Optimal Positive Production Network Externality in Major League Baseball,”
    presented at the Western Economic Association International, 1998.

    “The NBA, Exit Discrimination, and Career Earnings,” presented at the Western Economic
    Association International, 1997.

    “Sports Salary Determination,” presented at the International Atlantic Economic Society
    Conference, 1997.

    “A Model of a Professional Sports League,” presented at the International Atlantic Economic
    Society Conference, 1996.

    “Transferability of Case Study Research: An Example from the Semiconductor Industry,”
    presented at the American Society of Training and Development Conference, 1996.

EDITORIAL/REVIEWER BOARDS OF PEER-REVIEWED JOURNALS

    Frontiers in Sports and Active Living – Sports Management and Marketing, 2020 – present
    International Journal of Sport Management and Marketing, 2011 – present
    International Journal of Sports Marketing and Sponsorship, 2021 – present
    International Journal of Sport Finance, 2006 – present (founding member)
    Journal of Risk and Financial Management, 2019 – present
    Journal of Sport Management, 2003 – present
      Associate Editor, 2010 – 2012
      Co-Editor of Special Issue, 2022
    Journal of Quantitative Analysis in Sports, 2005 – 2012 (founding member)
    Case Studies in Sport Management, 2011 – 2019 (founding member)
    Sport Management Review, 2001 – 2008


REFEREE FOR PEER-REVIEWED JOURNALS & GRANTING AGENCIES

    American Behavioral Scientist, 2008
    Applied Economics Letters, 2018
    Applied Economics, 2020, 2021
    Axioms, 2017
    Case Studies in Sport Management, 2012, 2014a, 2014b, 2015, 2017, 2019
    Communication & Sport, 2019, 2020
    Contemporary Economic Policy, 2004, 2021
    Eastern Economic Journal, 2010
    Economic Inquiry, 2008, 2010, 2011
    Economics and Business Letters, 2018
    European Sport Management Quarterly, 2012, 2020, 2021, 2022
    Frontiers in Sports and Active Living, 2021a, 2021b, 2022
    Future Internet, 2019, 2020
    Industrial Relations, 1993, 2000, 2000, 2001, 2013
    International Journal of Financial Studies, 2018
    International Journal of Sport Communication, 2011
    International Journal of Sport Finance, 2005, 2006a, 2006b, 2006c, 2007a, 2007b, 2008a, 2008b,
                                    2010, 2011, 2012, 2013, 2014a, 2014b, 2014c, 2015, 2017, 2018,
                                    2019, 2022a, 2022b, 2023




                                                                                                     20
    Case 4:20-cv-03919-CW           Document 717-2         Filed 03/03/25      Page 67 of 74



    International Journal of Sport Management and Marketing, 2005, 2010, 2013, 2014, 2017, 2021
    International Journal of Sports Marketing and Sponsorship, 2016, 2018a, 2018b, 2019, 2021a,
                                     2021b, 2021c, 2021d, 2022, 2023a, 2023b, 2024
    International Journal of Sport Policy and Politics, 2014
    International Review for the Sociology of Sport, 2012
    Journal for the Study of Sport and Athletes in Education, 2021a, 2021b
    Journal of Economic Surveys, 2024
    Journal of Functional Morphology and Kinesiology, 2018
    Journal of Global Sport Management, 2018, 2024
    Journal of Industrial Economics, 1997
    Journal of Intercollegiate Sport, 2016, 2021, 2022
    Journal of Issues in Intercollegiate Athletics, 2021
    Journal of Sport Management, 2001, 2002, 2003a, 2003b, 2004a, 2004b, 2004c, 2004d, 2004e,
                                     2005a, 2005b, 2005c, 2005d, 2006a, 2006b, 2006c, 2006d, 2006e,
                                     2006f, 2006g, 2006h, 2006i, 2007a, 2007b, 2007c, 2007d, 2008a,
                                     2008b, 2008c, 2008d, 2009a, 2009b, 2009c, 2009d, 2009e, 2009f,
                                     2009g, 2010a, 2010b, 2010c, 2010d, 2011a, 2011b, 2013, 2013b,
                                     2014, 2015a, 2015b, 2016a, 2016b, 2016c, 2016d, 2017a, 2017b,
                                     2017c, 2017d, 2018a, 2018b, 2018c, 2018d, 2019a, 2019b, 2019c,
                                     2019d, 2019e, 2020a, 2020b, 2020c, 2020d, 2021, 2023, 2024
    Journal of Sports Economics, 2003, 2007, 2008a, 2008b, 2009, 2010, 2011, 2012a, 2012b, 2014a,
                                     2014b, 2015a, 2015b, 2016, 2018, 2019a, 2019b, 2021, 2022a,
                                     2022b, 2023
    Journal of Venue and Event Management, 2012
    Journal of the Quantitative Analysis of Sports, 2005, 2006a, 2006b, 2007
    Mathematical Problems in Engineering, 2018
    Perceptual and Motor Skills, 2009
    PLOS One, 2025
    Review of Economics and Statistics, 2017
    Review of Industrial Organization, 2012, 2013, 2015
    SAGE Open, 2021
    Soccer & Society, 2014, 2015, 2020
    Social Science Quarterly, 2025
    Southern Economic Journal, 2001, 2007a, 2007b
    Sport, Business and Management: An International Journal, 2011, 2012, 2013, 2017, 2018, 2023a,
                                     2023b
    Sport Management Review, 2002a, 2002b, 2003a, 2003b, 2003c, 2003d, 2004a, 2004b, 2004c,
                                     2006a, 2006b, 2006c, 2007a, 2007b, 2007c, 2010a, 2010b, 2011,
                                     2015, 2016, 2017, 2020
    Sport Marketing Quarterly, 2015, 2018
    Sustainability, 2018, 2021a, 2021b

    External review of $250,000 grant proposal for the Social Sciences and Humanities Research
    Council of Canada, 2008

PROFESSIONAL AFFILIATIONS (CURRENT AND PREVIOUS)
    American Bar Association
    American Economic Association
    National Association of Certified Valuation Analysts
    North American Society for Sport Management




                                                                                                 21
   Case 4:20-cv-03919-CW             Document 717-2           Filed 03/03/25        Page 68 of 74



    North American Association of Sports Economists
    Sport and Recreation Law Association
    Sport Marketing Association
    Sports Lawyers Association
    Western Economic Association International

TESTIMONY

    Provided expert report and deposition on economic analyses in Smart v. NCAA. 2024.

    Provided economic declarations for preliminary injunction in 23XI v. NASCAR. 2024.

    Provided economic analysis for the settlement in Carter v. NCAA. 2024.

    Provided expert reports, deposition, and trial testimony in In Re NFL Sunday Ticket Antitrust
    Litigation. 2024.

    Provided expert reports, deposition testimony, and settlement analysis in Hubbard v. NCAA. 2024.

    Provided expert reports, deposition testimony, and settlement analysis in In Re College Athlete NIL
    Litigation. 2024.

    Provided deposition and trial testimony regarding liability and economic damages in San Francisco
    Federal Credit Union v. San Francisco Municipal Transportation Agency. 2021.

    Provided expert reports and deposition testimony regarding class certification and damages in
    Shields et al. v. FINA. 2021.

    Provided expert report pertaining to alleged financial harm from lost career earnings related to
    RICO claims in Bowen v. adidas. 2021.

    Provided expert report and trial testimony pertaining to financial harm of alleged mismanagement
    of professional tennis client in Mirjana Lucic v. IMG Worldwide. 2021.

    “An Economics Perspective on NIL at the Community College Level” presented at a public hearing
    of the Senate Bill 206 (Skinner-D, 2019) Statutory Community College Athlete Name, Image, and
    Likeness Working Group, November 10, 2020.

    Provided expert report and deposition pertaining to financial harm of alleged misleading advertising
    in The People of the State of California v. Hertz et al. 2019.

    Financial and economic analysis and testimony at a hearing of baseball and AT&T Park for
    Assessment Appeals Board (property tax dispute). 2018.

    Provided arbitration testimony on damages regarding an NBA agent and agency in ISE v. Dan
    Fegan. 2018.

    Provided trial and deposition testimony and multiple expert reports pertaining to class certification,
    liability, damages, and injunction issues in college sports in the federal lawsuit In Re: NCAA
    Athletic GIA Cap Antitrust Litigation. 2015-18.




                                                                                                        22
Case 4:20-cv-03919-CW             Document 717-2          Filed 03/03/25        Page 69 of 74



Provided expert report pertaining to damages in auto racing case between a driver and his agent in
Sports Management Network v. Kurt Busch. 2018.

Public testimony on forecast of economic impact of Rocky Mountain Sports Park on Windsor, CO
to the Windsor City Council. 2017.

Provided expert report pertaining to the economics of ticketing and personal seat licenses (PSLs) in
RCN Capital v. Los Angeles Rams. 2017.

Provided trial testimony (and multiple reports and depositions) on financial harm pertaining to FTC
v. DirecTV. 2017.

Provided declaration pertaining to the economics of ticketing for sports and entertainment in
Glickman et al. v. Live Nation et al. 2016.

Provided declaration pertaining to the economics of ticketing for sports and entertainment in
Pollard v. AEG Live, et al. 2016.

Provided declaration pertaining to the economics of ticketing for sports and entertainment in
Finkelman v. NFL. 2016.

Provided deposition testimony and submitted two expert reports pertaining to class certification
issues in college football in Rock v. NCAA. 2014-16.

Submitted an expert report on damages pertaining to an endorsement relationship in Frank Thomas
v. Reebok. 2015.

Provided deposition testimony and submitted an expert report pertaining to the economic
relationship between two boxing entities in Garcia v. Top Rank, Inc. 2015.

Provided trial testimony (and multiple reports and depositions) on class certification issues,
damages, and antitrust economics in regards to group licensing for former and current college
football and basketball players in O’Bannon et al. v. NCAA. 2013-14.

Submitted three expert reports regarding lost earnings for a Major League Baseball player in Backe
et al. v. Fertitta Hospitality, LLC et al. 2013.

Submitted two expert reports on class certification issues in regards to ticket holder lawsuit in
Phillips et al. v. Comcast Spectacor et al. 2013.

Submitted expert report in a federal case involving defamation of character in the boxing industry
(Pacquiao v. Mayweather Jr. et al.). 2012.

Provided deposition testimony and prepared expert report regarding an alleged sponsorship breach
of contract in motorsports (Vici Racing, LLC v. T-Mobile USA, Inc.). 2012.

Prepared expert witness testimony on trade secrets case involving the sports consulting industry
(Sport Management Research Institute v. Keehn). 2011.




                                                                                                     23
Case 4:20-cv-03919-CW             Document 717-2           Filed 03/03/25        Page 70 of 74



Provided deposition testimony on the value of a minor league baseball team and related damages
from an alleged breach of a facility lease permit (Long Beach Armada v. City of Long Beach).
2011.

Provided deposition testimony on the value of athlete endorsements in a breach of contract case
involving an NBA player and a charter school business in an arbitration proceeding (D Wade’s
Place v. Dwyane Wade). 2010.

Provided deposition testimony on the value of athlete endorsements in a breach of contract case
involving an NBA player and a restaurant investment in a state court proceeding (Rodberg v.
Dwyane Wade). 2010.

Submitted two reports and provided deposition and arbitration testimony regarding damages related
to how media coverage has impacted an NFL team’s brand (Kiffin v. Raiders). 2009.

Submitted expert report, rebuttal report, gave deposition and trial testimony in federal court
(Adderley et al. v NFLPA & NFLPI). 2008.

Public testimony on economic impact of a Major League Soccer stadium in San Jose to the San
Jose City Council. 2008.

Public testimony on economic impact of six sports and cultural events in San Jose to the San Jose
City Council. 2007.

Submitted expert report, rebuttal report, and testified at arbitration hearing on the financial
valuation of Major League Soccer (Rothenberg v. Major League Soccer, LLC). 2006.

Named expert witness for a Major League Baseball club to analyze a punitive damages claim from
an injury at a baseball game (Bueno v. Rangers). 2006.

Prepared expert testimony on liability and damages related to the operations of a minor baseball
league on behalf of the league’s owner (Don Altman et al., v. Jeffrey Mallet, et al.). Case was
settled prior to deposition. 2004.

Public testimony on economic impact of an existing and new professional football stadium in
Irving, TX to the Irving City Council (two council meetings). 2004.

Testimony on college athletics regarding Senate Bill 193 to the California State Senate
Subcommittee on Entertainment. 2003.

Public testimony on economic impact of a downtown entertainment district in Sacramento to the
Sacramento City Council (two council meetings). 2003.

Determination of IP valuation and damages from a clothing endorsement alleged breach of contract
for PGA Tour player (Stankowski v. Bugle Boy). Submitted expert report. Case was settled prior to
deposition. 2000.

Deposition testimony in breach of contract matter concerning sponsorship damages analysis in the
auto racing industry (Parente v. Della Penna Racing). 2000.




                                                                                                    24
Case 4:20-cv-03919-CW         Document 717-2         Filed 03/03/25      Page 71 of 74



Public testimony on forecast of economic impact of Pan Am Games on San Antonio to the San
Antonio City Council. 1999.

                                                                   Updated March 2025




                                                                                            25
Case 4:20-cv-03919-CW   Document 717-2   Filed 03/03/25   Page 72 of 74




              Appendix B
     Case 4:20-cv-03919-CW              Document 717-2          Filed 03/03/25       Page 73 of 74




                                     Documents Relied Upon

Legal Filings
Amended Injunctive Relief Settlement.
Objection to Amended Settlement Agreement and Opposition to Final Approval, January 31, 2025.
Objection to Final Approval by Alex Vogelsong, January 31, 2025.
Objection to Settlements on Behalf of Classes of Past, Current and Future NCAA College Athletes,
        January 29, 2025, with Appendices.


Expert Reports and Exhibits, Including Backup Materials
Declaration of Andrew Zimbalist, January 30, 2025.
Declaration of Daniel A. Rascher, July 26, 2024.
Declaration of Michael Cragg, December 2, 2024.
Declaration of Rodney Fort and Roger Noll, January 17, 2025.
Declaration of Ted Tatos, August 9, 2024.
Declaration of Ted Tatos, January 30, 2025.
Expert Class Cert Reply Report of Daniel A. Rascher, April 22, 2024 (Hubbard).
Expert Class Cert Reply Report of Daniel A. Rascher, July 21, 2023.
Expert Class Cert Report of Daniel A. Rascher, Oct. 21, 2022.
Expert Class Cert Report of Roger G. Noll, October 22, 2012 (O’Bannon).
Expert Merits Reply Report of Daniel A. Rascher, Feb. 23, 2024 with Errata on April 10, 2024.
Expert Merits Report of Daniel A. Rascher, Dec. 1, 2023.
Expert PCJ Rebuttal Report of Daniel A. Rascher, Jan. 26, 2024.
Reply Declaration of Daniel A. Rascher, August 16, 2024.


Literature, Articles and Publications
American Bar Association. (2017). "Proving Antitrust Damages, Legal and Economic Issues." 3rd ed.
Leeds, M. A., Allmen, P.V., and Matheson, V. A. (2023). "The Economics of Sports." 7th ed., Routledge.


Third Party Sources
https://apnews.com/article/ohio-state-scholarships-11fd4da3a684389311e7caf1995cc68d
https://apnews.com/article/sports-college-football-football-health-utah-utes-football-
        be9c91d43fe864619e1f8166ca1ca17b
https://lanthorn.com/81318/sports/understand-the-ncaa-covid-19-eligibility-extensions/
     Case 4:20-cv-03919-CW             Document 717-2           Filed 03/03/25       Page 74 of 74



https://ncaaorg.s3.amazonaws.com/ncaa/NIL/May2022NIL_Guidance.pdf
https://ncaaorg.s3.amazonaws.com/research/sportpart/2023-
        24RES_NCAA_Sports_Sponsorship_Spreadsheet.xlsx
https://ncaaorg.s3.amazonaws.com/research/sportpart/2023RES_SportsSponsorshipParticipationRatesRep
        ort.pdf
https://ncaaorg.s3.amazonaws.com/research/sportpart/2024RES_SportsSponsorshipParticipationRatesRep
        ort.pdf
https://sites.google.com/site/rodswebpages/codes?authuser=0
https://storage.courtlistener.com/recap/gov.uscourts.cand.360907/gov.uscourts.cand.360907.535.2.pdf
https://swimswam.com/texas-will-add-almost-200-new-athletics-scholarships-including-100-full-rides-
        for-swim-teams/
https://theithacan.org/51832/sports/sports-features/student-athletes-navigate-covid-eligibility-loopholes/
https://www.denverpost.com/2020/09/08/cu-buffs-betting-on-sports-gambling-football/
https://www.espn.com/college-football/story/_/id/33110193/why-2021-was-year-constant-upheaval-
        college-football
https://www.ncaapublications.com/productdownloads/D125.pdf
https://www.npr.org/2022/03/18/1087617011/march-madness-is-back-and-it-looks-more-normal-than-it-
        has-in-3-years
https://www.nytimes.com/2023/03/29/sports/sports-betting-universities-pointsbet-caesars.html
https://www.nytimes.com/athletic/6159981/2025/02/25/college-football-revenue-sharing-georgia-sec/
https://www.nytimes.com/athletic/6159981/2025/02/25/college-football-revenue-sharing-georgia-sec/
https://www.on3.com/news/tennessee-to-add-10-percent-talent-fee-to-ticket-prices
https://www.onlineathens.com/story/sports/college/bulldogs-extra/2025/02/25/georgia-athletics-revenue-
        sharing-georgia-football-josh-brooks/79413454007/
